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                       Exhibit B

                    Sale Agreement
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                                                                 Execution Copy


                   ASSET PURCHASE AGREEMENT



                        SPARTAN RACE, INC.,
                        a Delaware corporation

                               as Buyer,

                                 AND

  DEREK C. ABBOTT, NOT INDIVIDUALLY, BUT SOLELY IN HIS CAPACITY AS
  CHAPTER 11 TRUSTEE OF THE BANKRUPTCY ESTATE OF TOUGH MUDDER,
INCORPORATED AND TOUGH MUDDER EVENT PRODUCTION INCORPORATED,

                                as Seller

                      Dated as of February 7, 2020
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                              ASSET PURCHASE AGREEMENT

        This ASSET PURCHASE AGREEMENT (the “Agreement”) is made and entered into as
of this 5th day of February, 2020 (the “Effective Date”), by and among Spartan Race, Inc. or its
designee (the “Buyer”) and Derek C. Abbott, not individually, but solely in his capacity as chapter
11 trustee (the “Trustee” or “Seller”) of the bankruptcy estate of Tough Mudder Incorporated and
Tough Mudder Event Production Incorporated (together, the “Debtor”).

                                            RECITALS

       A.      On January 7, 2020 (the “Filing Date”), an involuntary chapter 11 case was filed
by petitioning creditors, Valley Builders LLC, Trademarc Associates Inc., and David Watkins
Homes Inc. (the “Bankruptcy Case”) under title 11 of the United States Code (the “Bankruptcy
Code”), in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”).

       B.      On January 21, 2020, the Court entered an Order for Relief in Involuntary Case
[Dkt. No. 19] and entered an Order Directing the Appointment of a Chapter 11 Trustee [Dkt. No.
18]. Thereafter, on January 30, 2020, the Court entered an Order Approving the Appointment of
Derek C. Abbott, Esq. as Chapter 11 Trustee [Dkt. No. 24].

       C.      Seller desires to sell to Buyer, and Buyer desires to purchase from Seller, the
Acquired Assets (as defined herein), and Buyer desires to assume the Assumed Liabilities (as
defined herein) in connection therewith, upon the terms and conditions set forth in this Agreement
and in accordance with §§ 105, 363, and 365 and other applicable provisions of the Bankruptcy
Code.

        D.     The execution and delivery of this Agreement and Seller’s ability to consummate
the transactions set forth in this Agreement are subject, among other things, to the entry of the Sale
Order (as defined below).

                                          AGREEMENT

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, and intending to be legally bound hereby, Buyer and Seller
hereby agree as follows:

1.     Definitions.

       1.1     Defined Terms. As used in this Agreement, terms defined in the preamble, recitals
and other sections of this Agreement shall have the meaning set forth therein, and the following
terms shall have the meaning herein specified, unless the context otherwise requires:

               1.1.1      “2020 Tough Mudder Season Pass” means a season pass that provides
       the owner with registration to every 5k and “Tough Mudder Classic” in the United States
       for the 2020 calendar year.

               1.1.2       “Active” means Active Networks, LLC.
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       1.1.3       “Acquired Assets” has the meaning set forth in Section 2.1.

        1.1.4       “Affiliate” when used with reference to another Person means any
Person, directly or indirectly, through one or more intermediaries, Controlling, Controlled
by, or under common Control with, such other Person.

       1.1.5       “Agreement” has the meaning set forth in the Preamble.

       1.1.6       “Allocable Consideration” has the meaning set forth in Section 3.4.

       1.1.7       “Allocation Schedule” has the meaning set forth in Section 3.4.

        1.1.8       “Alternative Transaction” means a transaction or series of related
transactions pursuant to which Seller accepts a bid for all or a material portion of the
Acquired Assets or any group of assets that includes all or a material portion of the
Acquired Assets, from a Person other than Buyer or any Affiliate of Buyer (or a group or
joint venture that includes Buyer or any Affiliate of Buyer), as the highest or otherwise
best offer, in accordance with the Sale Motion.

       1.1.9       “Assignment and Assumption Agreement” has the meaning set forth in
Section 4.3.6.

       1.1.10      “Assumed Contracts” means the Contracts listed on Schedule 1.1.10,
individually or collectively as the context requires.

        1.1.11    “Assumed Events” means the Tough Mudder offered 2020 events
identified on Schedule 1.1.11.

        1.1.12      “Assumed Liabilities” means the following Liabilities of Seller: (i)
Seller’s obligations to natural persons holding event registrations associated with an
Assumed Event, (ii) for each of the Excluded Events, Buyer will exchange any natural
person’s event registration for two comparable Buyer event registrations to occur on or
before December 31, 2021, (iii) for every 2020 Tough Mudder Season Pass held by a
natural person, Buyer will exchange their 2020 Tough Mudder Season Pass for two
consecutive years (i.e., 2020-2021) of a comparable Buyer season pass, (iv) all Liabilities
of Seller under each Assumed Contract, in each case, arising after the Closing (v) all Cure
Claims, (vi) all Liabilities arising out of Buyer’s use of the Acquired Assets by Buyer after
the Closing to the extent such Liabilities arise solely out of any matter, occurrence, action,
omission or circumstance that first occurred or existed after the Closing.

       1.1.13      “Bankruptcy Case” has the meaning set forth in the Recitals.

       1.1.14      “Bankruptcy Code” has the meaning set forth in the Recitals.

       1.1.15      “Bankruptcy Court” has the meaning set forth in the Recitals.

       1.1.16      “Bill of Sale” has the meaning set forth in Section 4.3.4.


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       1.1.17     “Business Day” means a day other than Saturday, Sunday, or any day
on which banks in Wilmington, Delaware are permitted or required to be closed.

       1.1.18      “Buyer” has the meaning set forth in the Recitals.

       1.1.19      “Cash Payment” has the meaning set forth in Section 3.1.1.

       1.1.20      “Closing” has the meaning set forth in Section 4.1.

       1.1.21      “Closing Date” has the meaning set forth in Section 4.2.

       1.1.22    “Consent” means any approval, consent, ratification, permission,
clearance, designation, qualification, waiver, or authorization, or an order of the
Bankruptcy Court that deems or renders unnecessary the same.

       1.1.23      “Contracts” means, with respect to any Person, any indentures,
contracts, leases, options, agreements, instruments, licenses, undertakings, and other
commitments, whether written or oral, to which such Person or such Person’s properties
are bound.

         1.1.24    “Control” means, when used with reference to any Person, the power to
direct the management or policies of such Person, directly or indirectly, by or through stock
or other equity ownership, agency or otherwise, or pursuant to or in connection with any
Contract; and the terms “Controlling” and “Controlled” shall have meanings correlative to
the foregoing.

       1.1.25      “Cure Claims” has the meaning set forth in Section 3.2.

        1.1.26     “Default” means (a) a violation, breach, or default, (b) the occurrence
of an event that, with the passage of time, the giving of notice or both, would constitute a
violation, breach, or default, or (c) the occurrence of an event that, with or without the
passage of time, the giving of notice or both, would give rise to a right of damages, specific
performance, termination, cancellation, renegotiation, or acceleration (including the
acceleration of payment).

       1.1.27      “Deposit” has the meaning set forth in Section 3.1.2.

        1.1.28     “Encumbrances” means any lien, encumbrance, claim (as defined in
Section 101(5) of the Bankruptcy Code), right, demand, charge, mortgage, deed of trust,
option, pledge, security interest or similar interest, title defect, hypothecation, easement,
right of way, restrictive covenant, encroachment, right of first refusal, preemptive right,
judgment, conditional sale or other title retention agreement, and all other impositions,
imperfections, defects, limitations, or restrictions of any nature or kind whatsoever.

       1.1.29      “Escrow” has the meaning set forth in Section 3.1.2.

       1.1.30      “Escrow Holder” has the meaning set forth in Section 3.1.2.


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        1.1.31     “Excluded Assets” has the meaning set forth in Section 2.2.

        1.1.32     “Excluded Events” has the meaning set forth in Section 2.2.2.

     1.1.33       “Excluded Liabilities” means all Liabilities of Seller other than the
Assumed Liabilities.

       1.1.34      “Expense Reimbursement” means a reimbursement to Buyer not to
exceed $50,000.00 of Buyer’s actual reasonable documented out-of-pocket expenses
incurred in connection with the transactions contemplated by this Agreement, including
professional fees.

        1.1.35     “Filing Date” has the meaning set forth in the Recitals.

        1.1.36     “Governmental Authority” means any court, tribunal, arbitrator,
authority, agency, commission, official or other instrumentality of the government of the
United States or of any foreign country, any state or any political subdivision of any such
government (whether state, provincial, county, city, municipal or otherwise).

        1.1.37     “Independent Accounting Firm” has the meaning set forth in Section
3.4.

        1.1.38       “Intellectual Property” means any and all rights, title, and interest in or
relating to intellectual property of any type, which may exist or be created under the Laws
of any jurisdiction throughout the world, including: (a) trademarks, service marks, trade
dress, logos, slogans, trade names, service names, brand names, internet domain names,
social media accounts, trademark applications, including but not limited to those set forth
on Schedule 2.1.6 hereto, and all other source or business identifiers and general
intangibles of a like nature, along with all applications, registrations, and renewals and
extensions in connection therewith, and all goodwill associated with any of the foregoing;
(b) patents and patent applications, together with all reissues, provisionals, continuations,
continuations-in-part, divisionals, renewals, extensions, and reexaminations in connection
therewith; (c) rights associated with works of authorship, including software, databases,
websites, exclusive exploitation rights, mask work rights, copyrights, database, and design
rights, whether or not registered or published, all registrations and recordations thereof and
applications in connection therewith, along with all extensions and renewals thereof and
all moral rights associated with any of the foregoing; (d) trade secrets, know-how, and
other proprietary and confidential information, including inventions (whether or not
patentable), invention disclosures, improvements, algorithms, source code, data analytics,
methods, processes, designs, drawings, customer lists, supplier lists; together with all
embodiments and fixations of any of the foregoing and all related documentation; (e) all
third party intellectual property rights granted to Debtor in the form of use of likeness,
image release, name, sobriquet, voice, actual and simulated likeness, biographical data, and
any other form of personal identification.

        1.1.39     “Intellectual Property Assets” has the meaning set forth in Section 2.1.8.

        1.1.40     “IP Assignment Agreement” has the meaning set forth in Section 4.3.4.

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        1.1.41      “Laws” means all federal, state, local or foreign laws, statutes, common
law, rules, codes, regulations, restrictions, ordinances, Orders, or other requirement or rule
of law.

        1.1.42     “Legal Proceeding” means any action, suit, arbitration, claim, or
investigation by or before any Governmental Authority, any arbitration or alternative
dispute resolution panel, or any other legal, administrative, or other proceeding.

        1.1.43      “Liabilities” means any and all debts, losses, liabilities, claims
(including “claims” as defined in the Bankruptcy Code), damages, fines, costs, royalties,
warranties, proceedings, deficiencies, or obligations (including those arising out of any
action or litigation, such as any settlement or compromise thereof or judgment or award
therein) of any nature, whether known or unknown, absolute, accrued, contingent, or
otherwise and whether due or to become due, and whether or not resulting from third-party
claims, and any out-of-pocket costs and expenses (including attorneys’, accountants’, or
other fees and expenses incurred in defending any action or litigation, in investigating any
of the same, or in asserting rights hereunder).

       1.1.44      “Order” means any judgment, order, writ, decree, injunction or other
determination whatsoever of any Governmental Authority or any other entity or body
whose finding, ruling or holding is legally binding or is enforceable as a matter of right (in
any case, whether preliminary or final).

       1.1.45      “Outside Date” has the meaning set forth in Section 4.2.

       1.1.46     “Permits” means all material applications, notifications, licenses,
permits, franchises, rights, certificates, approvals, consents, waivers, clearances,
exemptions, classifications, registrations, orders, tariffs, rate schedules, and other similar
documents and authorizations issued by any Person to the Debtor and used, or held for use,
in connection with the Acquired Assets or applicable to ownership of the Acquired Assets,
assumption of the Assumed Liabilities, or required under Law.

       1.1.47      “Person” means any natural person, corporation, general partnership,
limited partnership, limited liability company, proprietorship, joint venture, trust,
association, union, entity, or other form of business organization or any Governmental
Authority.

       1.1.48      “Purchase Price” has the meaning set forth in Section 3.1.1.

         1.1.49    “Records” means, with respect to the Debtor’s business, the books,
records, information, ledgers, files, invoices, documents, work papers, correspondence,
lists (including customer lists, supplier lists and mailing lists), plans (whether written,
electronic or in any other medium), drawings, designs, specifications, creative materials,
advertising and promotional materials, marketing plans, studies, reports, data, metadata,
and similar materials related to the Debtor’s business and specifically excluding files and
papers not otherwise relating to the conduct of the Debtor’s business.

       1.1.50      “Refund Event” has the meaning set forth in Section 3.1.2.

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       1.1.51      “Representative” of a Person means such Person’s officers, directors,
managers, employees, advisors, representatives (including its legal counsel and its
accountants), and agents of such Person.

        1.1.52     “Sale Motion” means that certain motion filed by the Seller in the
Bankruptcy Case to seek authorization to consummate this Agreement with Buyer or to
enter into an Alternative Transaction upon the terms and conditions set forth herein.

       1.1.53      “Sale Order” has the meaning set forth in Section 10.2.2.

       1.1.54      “Seller” has the meaning set forth in the Recitals.

       1.1.55     “Seller’s Knowledge” means with respect to any representation,
warranty, or statement of Seller in this Agreement that is qualified by “Seller’s
Knowledge,” the actual knowledge of the Debtor’s former officer and consultant to the
Trustee, Kyle McLaughlin.

        1.1.56      “Taxes” means (a) any tax, charge, fee, levy, or other assessment
including, any net income, gross income, gross receipts, sales, use, ad valorem, transfer,
franchise, profits, payroll, employment, social security, withholding, unemployment,
excise, estimated, stamp, occupancy, occupation, property or other similar taxes, including
any interest or penalties thereon, and additions to tax or additional amounts imposed by
any Governmental Authority or (b) any liability for the payment of any taxes, interest,
penalty, addition to tax or like additional amount resulting from the application of Treasury
Regulation §1.1502-6 or comparable Law.

        1.1.57    “Tax Returns” means any declaration, return, report, estimate,
information return, schedule, statements or other document filed or required to be filed
with or, when none is required to be filed with a Governmental Authority, the statement or
other document issued by, a Governmental Authority.

        1.1.58     “Tough Mudder GmbH Receivables” means any and all interest held by
the Seller in account receivables, loans, advances, and other amounts due the Seller from
Tough Mudder GmbH.

        1.1.59      “UK/Germany Ticket Claims” means any and all of the Seller’s right,
title and interest in any event registration sale and the proceeds therefrom arising on or
after the Filing Date and relating to Tough Mudder events occurring in the United Kingdom
or Germany.

        1.1.60     “US Ticket Buyer Escrow” means that certain escrow account
established by the Seller and Active to hold the proceeds of all post-Filing Date US Ticket
Sales.

       1.1.61      “US Ticket Buyer Escrow Proceeds” means the cash and cash
equivalents of the Debtor’s right, title and interest in US Ticket Sales and held in the US
Ticket Buyer Escrow, minus 10% of such value to be retained by Seller for the benefit of
the Debtor’s estate.

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               1.1.62      “US Ticket Sales” means all post-Filing Date Tough Mudder event
       registrations for events held in the United States, and 2020 Tough Mudder Season Pass
       registrations, and all proceeds and product therefrom.

        1.2     Interpretation. When a reference is made in this Agreement to a section or article,
such reference shall be to a section or article of this Agreement unless otherwise clearly indicated
to the contrary.

              1.2.1      Whenever the words “include,” “includes” or “including” are used in
       this Agreement they shall be deemed to be followed by the words “without limitation.”

              1.2.2       The words “hereof,” “herein” and “herewith” and words of similar
       import shall, unless otherwise stated, be construed to refer to this Agreement as a whole
       and not to any particular provision of this Agreement, and article, section, paragraph,
       exhibit and schedule references are to the articles, sections, paragraphs, exhibits and
       schedules of this Agreement unless otherwise specified.

               1.2.3       The meaning assigned to each term defined herein shall be equally
       applicable to both the singular and the plural forms of such term. Where a word or phrase
       is defined herein, each of its other grammatical forms shall have a corresponding meaning.

             1.2.4       A reference to any party to this Agreement or any other agreement or
       document shall include such party’s successors and permitted assigns.

              1.2.5      A reference to any legislation or to any provision of any legislation shall
       include any amendment to, and any modification or reenactment thereof, any legislative
       provision substituted therefor and all regulations and statutory instruments issued
       thereunder or pursuant thereto.

                1.2.6      When calculating the period of time before which, within which or
       following which any act is to be done or step taken pursuant to this Agreement, the date
       that is the reference date in calculating such period shall be excluded. If the last day of
       such period is a non-Business Day, the period in question shall end on the next succeeding
       Business Day.

               1.2.7      Any reference in this Agreement to $ shall mean U.S. dollars.

               1.2.8       The parties hereto have participated jointly in the negotiation and
       drafting of this Agreement and, in the event an ambiguity or question of intent or
       interpretation arises, this Agreement shall be construed as jointly drafted by the parties
       hereto and no presumption or burden of proof shall arise favoring or disfavoring any party
       by virtue of the authorship of any provision of this Agreement.

2.     Transfer of Assets.

       2.1     Purchase and Sale of Assets. Pursuant to Sections 105, 363 and 365 of the
Bankruptcy Code and on the terms and subject to the conditions set forth in this Agreement and
the Sale Order, at the Closing, Buyer shall purchase, acquire, and accept from Seller, and Seller

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shall sell, transfer, assign, convey, and deliver to Buyer, all of Seller’s right, title, and interest in
and to the following assets (collectively, the “Acquired Assets”), free and clear of all
Encumbrances, for the consideration specified in Section 3 (but excluding in each case, for the
avoidance of doubt, any Excluded Asset):

                2.1.1       all Assumed Contracts;

                2.1.2       all Assumed Events;

                2.1.3       the Tough Mudder GmbH Receivable;

                2.1.4       the US Ticket Buyer Escrow and the US Ticket Buyer Escrow Proceeds;

                2.1.5       the UK/Germany Ticket Claims;

                2.1.6       all Intellectual Property, including but not limited to items set forth on
        Schedule 2.1.6, and any physical embodiments thereof, together with all claims, demands,
        income, damages, royalties, payments, accounts, and accounts receivable now or hereafter
        due and payable, and rights to causes of action and remedies, related to any of the
        foregoing, including without limitation, all proceeds to infringement suits, the right to sue
        and prosecute for past, present, and future infringement, misappropriation, or other
        violation of rights related to any of the foregoing (collectively, the “Intellectual Property
        Assets”);

                2.1.7       all tangible assets of Seller set forth on Schedule 2.1.7.

                2.1.8       the amount of, and all rights to any, insurance proceeds received by
        Seller after the date hereof in respect of (i) the loss, destruction, or condemnation of any
        Acquired Assets, occurring prior to, on or after the Closing or (ii) any Assumed Liabilities;

                2.1.9      Seller’s Records related to the Acquired Assets other than any Records
        that are privileged communications; provided, however, that upon reasonable written
        request from Buyer, Seller shall enter into a common interest agreement with respect to
        such privileged materials to the extent that Seller can do so without waiving privilege;
        provided, further, that the Seller may not sell, transfer, lease or use any privileged
        communications related to the Acquired Assets in a manner that adversely affects the
        Buyer’s interests in the Acquired Assets after the Closing;

                2.1.10      all rights of Seller under non-disclosure or confidentiality agreements
        with the Buyer and other third parties, and any intellectual property assignments, to the
        extent relating to the Acquired Assets (or any portion thereof), excluding, however, all
        rights of Seller under any such agreement entered into in connection with the Bankruptcy
        Case;

        2.2     Excluded Assets. Notwithstanding any provision in this Agreement to the contrary,
other than the Acquired Assets, Buyer expressly acknowledges and agrees that it is not purchasing
or acquiring, and Seller is not selling or assigning, any other assets or properties or claims or causes
of action of Debtor or the Trustee, and all such other assets and properties shall be excluded from

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the Acquired Assets (the “Excluded Assets”). Excluded Assets include, without limitation, all
property or assets of every nature not expressly included in the Acquired Assets, including the
following non-exhaustive list of assets and properties of Debtor:

             2.2.1      all cash and cash equivalents as of Closing (other than US Ticket Buyer
       Escrow Proceeds and the UK/Germany Ticket Claims);

              2.2.2      any agreements or interest of the Debtor relating to advertised or
       previously scheduled Tough Mudder events other than Assumed Events (the “Excluded
       Events”);

               2.2.3       all of Seller’s certificates of incorporation and other organizational
       documents, qualifications to conduct business as a foreign entity, arrangements with
       registered agents relating to foreign qualifications, taxpayer and other identification
       numbers, seals, minute books, stock transfer books, stock certificates, and other documents
       relating to the organization, maintenance, and existence of Seller as a corporation;

              2.2.4       all Records related to Taxes paid or payable by Seller;

              2.2.5       all Contracts other than the Assumed Contracts;

              2.2.6      any Contract terminated, rejected, or expired prior to the Closing Date
       in accordance with the terms of such Contract or in the ordinary course of business;

              2.2.7       all of Seller’s bank accounts and lock-boxes other than the US Ticket
       Buyer Escrow;

               2.2.8      any documents and agreements of Seller relating to Seller’s Bankruptcy
       Case or to the sale or other disposition of the Acquired Assets or the sale or other
       disposition of any Excluded Assets;

              2.2.9       all Permits;

               2.2.10      other than to the extent of Acquired Assets under Section 2.1 of this
       Agreement, all claims, cross claims, and causes of action of Seller or the Debtor, including
       without limitation arising under Sections 542 through 553 of the Bankruptcy Code and
       against current or former directors and officers of the Debtor;

               2.2.11     all insurance, utility, and tax deposits or refunds owing to Seller other
       than as provided for in Section 2.1.3;

              2.2.12      Seller’s rights under this Agreement and all cash and non-cash
       consideration payable or deliverable to Seller or the Debtor pursuant to the terms and
       provisions of this Agreement;

               2.2.13      all insurance policies and insurance agreements, including, without
       limitation, any directors and officers insurance policies; and


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        2.3     Instruments of Transfer. The sale, conveyance, assignment, transfer, and delivery
of the Acquired Assets to Buyer and the assumption of the Assumed Liabilities provided herein
by Buyer shall be made by assignments, bills of sale, and other instruments of assignment, transfer
and conveyance provided for in Section 4.3 or as is otherwise necessary to effectuate such sale,
conveyance, assignment, transfer, delivery, and assumption. None of the foregoing documents
shall increase in any material way the burdens imposed by this Agreement upon Seller or Buyer.

3.     Consideration.

       3.1     Purchase Price.

               3.1.1      Consideration. The purchase price (the “Purchase Price”) for the
       purchase, sale, assignment, and conveyance of Seller’s right, title, and interest in, to, and
       under the Acquired Assets shall consist of: (i) cash in the amount of $700,000.00 (the “Cash
       Payment”); plus (ii) the assumption of the Assumed Liabilities.

                 3.1.2       Deposit. Concurrently with Buyer’s delivery of this Agreement, Buyer
       shall deliver into a segregated account (the “Escrow”) maintained by an escrow holder
       mutually agreed to by the parties (the “Escrow Holder”), acting reasonably, the sum of
       $250,000.00 (the “Deposit”) in immediately available funds. Upon receipt of the Deposit,
       the Escrow Holder shall immediately place the Deposit into a non-interest-bearing account.
       The Deposit shall be nonrefundable unless this Agreement is terminated as a result of a
       termination under Sections 6.1.1, 6.1.2, 6.1.3, 6.1.5, and 6.1.6 (each, a “Refund Event”).
       Notwithstanding the foregoing sentence, the Buyer agrees that $13,000 of the Deposit (the
       “Website        Funds”)    shall     be     nonrefundable     if   the    Debtor’s   website
       (www.toughmudder.com) is restored and accessible within two (2) Business Days of the
       Effective Date, which website shall have such terms and content as shall be approved by
       the Seller in its sole discretion, and (i) in the event Closing occurs, the Cash Payment due
       and owing to Seller at Closing shall be increased by the amount of the Website Funds or
       (ii) in the event this Agreement is terminated other than by reason of a Refund Event, Buyer
       shall reimburse Seller in the amount of the Website Funds within five (5) Business Days
       following such termination, in each case, as a reimbursement for the costs associated with
       restoring the aforementioned website. At the Closing, the Deposit shall be delivered to
       Seller and credited toward payment of the Purchase Price. In the event this Agreement is
       terminated for any reason other than a Refund Event and Seller is not then in material
       Default of this Agreement, Escrow Holder shall immediately disburse the Deposit to Seller
       to be retained by Seller for Seller’s own account. If this Agreement is terminated by reason
       of a Refund Event, the Escrow Holder shall return the Deposit to Buyer within two (2)
       Business Days.

               3.1.3      Payment at Closing. At the Closing, Buyer shall pay to Seller, by wire
       transfer of immediately available funds to an account designated in writing by Seller to
       Buyer no later than one (1) Business Days prior to the Closing Date, an amount equal to
       (x) the Cash Payment minus (y) the amount of the Deposit; and Buyer shall request the
       release of the Deposit to Seller and take any actions necessary to effectuate such release.



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         3.2     Cure Claims. With respect to each of the Assumed Contracts assigned to Buyer on
the Closing Date, Buyer shall satisfy, on the Closing Date, all Liabilities thereunder (as distinct
from curing all defaults or failures to comply with provisions thereunder that may not be cured by
the mere payment of money) (i) accruing or arising at any time prior to or after the Filing Date, or
(ii) arising from or relating to any act, event or occurrence prior to the Filing Date that are required
to be paid pursuant to §365 of the Bankruptcy Code in order to assume and assign the Assumed
Contracts to Buyer (collectively, “Cure Claims”).

        3.3     Excluded Liabilities. Buyer shall have no obligation of any kind for, under, arising
out of, or in connection with any Excluded Liabilities.

        3.4     Allocation of the Purchase Price. Seller and Buyer agree the Purchase Price and
the Assumed Liabilities as well as any other items constituting the amount realized for Tax
purposes (the “Allocable Consideration”) will be allocated among the Acquired Assets in a manner
consistent with Section 1060 of the Tax Code and any Treasury Regulations promulgated
thereunder. Buyer will, no later than forty-five (45) days following the Closing Date, prepare and
deliver to Seller a schedule setting forth the allocation of the Allocable Consideration in
accordance with the preceding sentence (the “Allocation Schedule”). Buyer and Seller will
endeavor for a period of thirty (30) days after delivery of the Allocation Schedule to resolve any
disputes related to the Allocation Schedule. If Buyer and Seller are not able to agree to the
Allocation Schedule within such thirty (30) day period, the parties shall retain an independent
accounting firm (the “Independent Accounting Firm”) to resolve their dispute. The determination
of the Independent Accounting Firm shall be final and binding on all parties hereto. The cost of
the Independent Accounting Firm shall be borne by Buyer. In the event that the Allocation
Schedule is disputed by any Governmental Authority, the party receiving notice of such dispute
will promptly notify the other party and the parties will consult in good faith as to how to resolve
such dispute in a manner consistent with the agreed upon Allocation Schedule. Neither Buyer nor
Seller will take any position that is contrary to or inconsistent with the Allocation Schedule for
any Tax purpose, including with respect to any Tax Return (including amended Tax Returns).

       3.5     Consumer Privacy. To the extent the appointment of a consumer privacy
ombudsman (as that term is used in sections 332 and 363(b)(1) of the Bankruptcy Code) is
required, the Buyer and Seller shall negotiate in good faith to determine a reasonable allocation of
the Debtor estate’s costs of retaining and compensating such consumer privacy ombudsman and
the Buyer agrees that its Purchase Price shall increase by such allocable share.

4.     Closing Transactions.

        4.1     Closing. The closing of the transactions provided for herein (the “Closing”) shall
take place at the offices of Morris, Nichols, Arsht & Tunnell LLP, in Wilmington, Delaware, or at
such other location or in such other manner as shall be mutually acceptable to Buyer and Seller,
including by electronic means.

        4.2    Closing Date. The Closing shall be held within two (2) days after satisfaction or
waiver of the conditions to closing in Section 5 (the “Closing Date”), but in no event later than
February 28, 2020 (the “Outside Date”). In the event the conditions to Closing have not been
satisfied or waived by the Outside Date, then any party who is not in Default hereunder may

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terminate this Agreement, unless the parties mutually agree to an extended Outside Date. Until
the Closing Date or until this Agreement is terminated, the parties shall diligently continue to work
to satisfy all conditions to Closing.

        4.3    Seller’s Deliveries to Buyer at Closing. On the Closing Date, Seller shall deliver
the following to Buyer:

               4.3.1       a copy of the Sale Order entered by the Bankruptcy Court;

               4.3.2      a bill of sale, duly executed by Seller, in substantially the form attached
       hereto as Exhibit A, pursuant to which Seller transfers the Acquired Assets other than the
       Assumed Contracts to Buyer (the “Bill of Sale”);

              4.3.3      an assumption and assignment agreement, duly executed by Seller, in
       substantially the form attached hereto as Exhibit B, effecting the assumption and
       assignment of the Assumed Contracts and Assumed Liabilities (the “Assignment and
       Assumption Agreement”);

              4.3.4       an intellectual property agreement, duly executed by Seller, in
       substantially the form attached hereto as Exhibit C, effecting the assumption and
       assignment of the Intellectual Property Assets (the “IP Assignment Agreement”);

              4.3.5       a certificate of Seller certifying the satisfaction of the conditions
       precedent set forth in Section 5.1; and

              4.3.6       such other documents and instruments, duly executed by Seller, as
       required pursuant to Section 2.3.

        4.4    Buyer’s Deliveries to Seller at Closing. On the Closing Date, Buyer shall deliver
the following to Seller:

               4.4.1       by wire transfer the Cash Payment less the amount of the Deposit;

              4.4.2       if requested by Seller, instructions to the Escrow Holder to deliver the
       Deposit to Seller;

              4.4.3    instructions to the US Ticket Buyer Escrow to deliver the US Ticket
       Buyer Escrow Proceeds to Buyer;

              4.4.4       a certificate of Buyer certifying the satisfaction of the conditions
       precedent set forth in Section 5.2;

               4.4.5      (i) certified copies of resolutions duly adopted by Buyer’s governing
       body approving the transactions contemplated by this Agreement and authorizing the
       execution, delivery, and performance by Buyer of this Agreement; and (ii) a certificate as
       to the incumbency of officers of Buyer executing this Agreement and any instrument or
       other document delivered in connection with the transactions contemplated by this
       Agreement;

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               4.4.6       the Assignment and Assumption Agreement, duly executed by Buyer;

               4.4.7       the IP Assignment Agreement, duly executed by Buyer; and

              4.4.8       such other documents and instruments, duly executed by Buyer, as
       required pursuant to Section 2.3.

       4.5     Sales, Use, and Other Taxes. Any sales, purchases, transfer, stamp, documentary
stamp, use, or similar taxes which may be payable by reason of the sale of the Acquired Assets
under this Agreement or the transactions contemplated herein shall be borne and timely paid by
Buyer.

        4.6    Possession. Right to possession of the Acquired Assets shall transfer to Buyer on
the Closing Date. Seller shall transfer and deliver to Buyer on the Closing Date such items as
Buyer shall reasonably require to obtain all of Seller’s right, title and interest in, to, or under the
Acquired Assets. For the avoidance of doubt, Seller shall have the right to retain copies of any
and all Records relating to the Intellectual Property Assets as may be necessary or appropriate for
the Bankruptcy Case and winding up the estate of Debtor.

5.     Conditions Precedent to Closing.

        5.1    Conditions to Seller’s Obligations. Seller’s obligation to sell, convey, assign,
transfer and deliver the Acquired Assets to Buyer at the Closing shall be subject to the satisfaction
or waiver by Seller of each of the following conditions:

              5.1.1      all of the representations and warranties of Buyer contained in Section
       8 shall continue to be true and correct at the Closing in all material respects, and all
       covenants and obligations to be performed by Buyer prior to the Closing shall have been
       performed in all material respects;

              5.1.2        Seller shall have received all items deliverable by Buyer pursuant to
       Section 4.4;

               5.1.3       Seller shall have received the Deposit in accordance with Section 3.1.2;
       and

              5.1.4       the Bankruptcy Court shall have entered the Sale Order, and the Sale
       Order shall not have been stayed, appealed, vacated, reversed, or modified as of the Closing
       Date.

        5.2   Conditions to Buyer’s Obligations. Buyer’s obligation to perform any of Buyer’s
obligations under this Agreement, including paying the Purchase Price to Seller upon the
consummation of the Closing, shall be subject to the satisfaction or waiver by Buyer of each of the
following conditions:

              5.2.1       all representations and warranties of Seller contained in
       Section 7 shall continue to be true and correct at the Closing in all material respects, and


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       all covenants and obligations to be performed by Seller prior to the Closing shall have been
       performed in all material respects;

              5.2.2        Buyer shall have received all items deliverable by Seller pursuant to
       Section 4.3; and

              5.2.3      the Bankruptcy Court shall have entered the Sale Order in form and
       substance acceptable to Buyer, and the Sale Order shall not have been stayed as of the
       Closing Date;

       5.3     Frustration of Closing Conditions. Neither Buyer nor Seller may rely on the failure
of any condition set forth in Section 5.1 or 5.2, as the case may be, if such failure was caused by
such party’s failure to comply with any provision of this Agreement.

6.     Termination.

       6.1     Means of Termination. This Agreement may be terminated prior to the Closing as
follows:

               6.1.1     by Seller or Buyer, if the Closing has not occurred by the close of
       business on the Outside Date; provided, however, that if the Closing shall not have
       occurred on or before the Outside Date due to a material breach of any representations,
       warranties, covenants, agreements, or obligations contained in this Agreement by Buyer or
       Seller, then the breaching party may not terminate this Agreement pursuant to this
       Section 6.1.1;

               6.1.2       by mutual written consent of Seller and Buyer;

                6.1.3      by Buyer, if there shall be a Default of a condition set forth in
       Section 5.2 and which Default cannot be cured or has not been cured (or waived by Buyer)
       by the Outside Date; provided, further, that Buyer may terminate this Agreement pursuant
       to this Section 6.1.3 only if Buyer is not in material breach of this Agreement as of the date
       of such termination;

               6.1.4       by Seller, if there shall be a Default of a condition set forth in Section 5.1
       and which Default cannot be cured or has not been cured by the Outside Date; provided,
       further, that Seller may terminate this Agreement pursuant to this Section 6.1.4 only if
       Seller is not in material breach of this Agreement as of the date of such termination;

             6.1.5      by Seller or Buyer, if there shall be in effect an Order of a Governmental
       Body of competent jurisdiction restraining, enjoining or otherwise prohibiting the
       consummation of the transactions set forth in this Agreement;

              6.1.6      automatically, if Seller enters into a definitive agreement with respect
       to an Alternative Transaction and the Bankruptcy Court enters an Order approving an
       Alternative Transaction, subject to Buyer’s right to the Break-up Fee and Expense
       Reimbursement in accordance with the provisions of Section 10.2.3, and such Alternative
       Transaction closes.

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        6.2     Procedure Upon Termination. In the event of termination by Buyer or Seller, or
both, pursuant to Section 6.1, written notice thereof shall forthwith be given to the other party, and
this Agreement shall terminate, and the purchase of the Acquired Assets hereunder shall be
abandoned, without further action by Buyer or Seller. If this Agreement is terminated as provided
herein, each party shall redeliver all documents, work papers and other material of any other party
relating to the transactions set forth herein, whether so obtained before or after the execution
hereof, to the party furnishing the same.

        6.3     Effect of Termination. In the event that this Agreement is validly terminated as
provided herein prior to the Closing, then each of the parties shall be relieved of its duties,
covenants, agreements, and obligations arising under this Agreement after the date of such
termination and such termination shall be without liability to Buyer or Seller; provided, however,
that the covenants, agreements and obligations of the parties set forth in Section 3.1.2, Section
6.1.6, this Section 6.3, and Section 11 shall survive any such termination and shall be enforceable
hereunder.

7.     Seller’s Representations and Warranties.

       Seller represents and warrants to Buyer that as of the date hereof and as of Closing:

        7.1    Organization and Qualification. The Debtor is duly incorporated, validly existing,
and in good standing under the laws of the State of Delaware; provided, however, that Seller and
Buyer acknowledge that Tough Mudder Incorporated is not in good standing as of the date of this
Agreement, which shall not constitute a Default under this Agreement so long as such entity is
restored to good standing status prior to the Closing.

        7.2    Due Authorization. Upon entry of the Sale Order, the execution and delivery of
this Agreement by Seller, the sale of the Acquired Assets, and the performance of the obligations
of Seller and the Debtor contemplated hereby have been duly and validly authorized by all
necessary corporate action. Seller has the right, power, authority, and legal capacity to enter into
and perform this Agreement and the transaction contemplated hereby, and this Agreement
constitutes the valid and binding agreement of the Debtor, enforceable against the Debtor in
accordance with its terms, subject to entry of the Sale Order.

       7.3      Conflict with Other Instruments; Absence of Restrictions. The execution and
delivery of this Agreement, the consummation of the transactions contemplated by this Agreement,
and performance of, fulfillment of, and compliance with the terms and conditions hereby by Seller
does not and will not: (i) conflict with or result in a breach of the organizational documents of the
Debtor; or (ii) violate any Law binding on the Debtor.

        7.4     Title to the Acquired Assets. To Seller’s Knowledge, the Debtor owns and has
marketable legal and beneficial title to all of the Acquired Assets. On the Closing Date, Seller will
deliver all of the Debtor’s right, title and interest in the Acquired Assets free and clear of all
Encumbrances, other than Permitted Encumbrances and Assumed Liabilities.

       7.5    No Other Representations and Warranties. Except for the representations and
warranties contained in this Section 7, neither Seller nor any other Person, including the Debtor,
makes (and Buyer is not relying upon) any other express or implied representation or warranty
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with respect to the Debtor, the Debtor’s business, the Acquired Assets (including the value,
condition, or use of any Acquired Asset), the Assumed Liabilities or the transactions contemplated
by this Agreement, and Seller disclaims any other representations or warranties, whether made by
the Debtor, Seller, any Affiliate of Seller or the Debtor or any of their respective Representatives.
Except for the representations and warranties contained in this Section 7, Seller (i) expressly
disclaims and negates any representation or warranty, express or implied, at common law, by
statute or otherwise, relating to the condition of the Acquired Assets (including any implied or
expressed warranty of title, merchantability or fitness for a particular purpose, or of the probable
success or profitability of the ownership, use or operation of the Debtor’s business or the Acquired
Assets by Buyer after the Closing), and (ii) disclaims all liability and responsibility for any
representation, warranty, projection, forecast, statement, or information made, communicated, or
furnished (orally or in writing) to Buyer or its Affiliates or Representatives (including any opinion,
information, projection or advice that may have been or may be provided to Buyer by any
Representative of Seller or the Debtor).

8.     Buyer’s Representations and Warranties.

       Buyer represents and warrants to Seller and the Debtor as of the date hereof and as of
Closing as follows:

        8.1     Validity of Agreement. All action on the part of Buyer necessary for the
authorization, execution, delivery and performance of this Agreement by Buyer, including, but not
limited to, the performance of Buyer’s obligations hereunder, has been duly taken. This
Agreement, when executed and delivered by Buyer, shall constitute the valid and binding
obligation of Buyer enforceable in accordance with its terms, subject to applicable bankruptcy,
insolvency, reorganization, moratorium and similar laws affecting creditors’ rights and remedies
generally, and subject, as to enforceability, to general principles of equity and entry of the Sale
Order.

        8.2     Organization, Standing and Power. Buyer is a corporation duly organized, validly
existing, and in good standing under the laws of its state of formation or organization. Buyer has
all requisite power and authority to own, lease, and operate Buyer’s properties, to carry on Buyer’s
business as now being conducted and to execute, deliver, and perform this Agreement and any
other agreements relating hereto.

        8.3     No Conflicts or Violations. The execution and delivery of this Agreement, the
consummation of the transactions contemplated by this Agreement, and the performance of,
fulfillment of, and compliance with the terms and conditions hereof by Buyer do not and will not:
(i) conflict with or result in a breach of the organizational documents of Buyer; (ii) violate any
Law binding on Buyer; or (iii) violate or conflict with or constitute a Default under any Contract
to which Buyer is a party or by which Buyer or Buyer’s assets or properties may be bound.

        8.4    Ability to Close and Perform. Buyer has sufficient liquid assets available to Buyer
to pay the Purchase Price on the Closing Date and to pay and perform the Assumed Liabilities.




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       8.5    Brokers’ Fees. Neither Buyer nor any of its Affiliates has entered into any Contract
to pay any fees or commissions to any broker, finder, or agent with respect to the transactions
contemplated by this Agreement for which Seller could become liable or obligated to.

9.     “As Is” Transaction.

      BUYER HEREBY ACKNOWLEDGES AND AGREES THAT, EXCEPT AS
OTHERWISE EXPRESSLY PROVIDED IN SECTION 7 ABOVE, SELLER AND THE
DEBTOR MAKE NO REPRESENTATIONS OR WARRANTIES WHATSOEVER, EXPRESS
OR IMPLIED, WITH RESPECT TO ANY MATTER RELATING TO THE ACQUIRED
ASSETS, THE ASSUMED CONTRACTS, OR ASSUMED LIABILITIES INCLUDING
EXPENSES TO BE INCURRED IN CONNECTION WITH SUCH ASSETS AND
LIABILITIES, THE PHYSICAL CONDITION OF ANY PERSONAL PROPERTY
COMPRISING A PART OF THE ACQUIRED ASSETS OR WHICH IS THE SUBJECT OF
ANY CONTRACT TO BE ASSUMED BY BUYER AT THE CLOSING, THE VALUE OF THE
ACQUIRED ASSETS (OR ANY PORTION THEREOF), THE TRANSFERABILITY OF
PROPERTY, THE TERMS, AMOUNT, VALIDITY OR ENFORCEABILITY OF ANY
ASSUMED LIABILITIES OR ASSUMED CONTRACTS, THE MERCHANTABILITY OR
FITNESS OF THE PROPERTY OR ANY OTHER PORTION OF THE ACQUIRED ASSETS
FOR ANY PARTICULAR PURPOSE, OR ANY OTHER MATTER OR THING RELATING
TO THE DEBTOR’S BUSINESS, THE ACQUIRED ASSETS OR ANY PORTION THEREOF.
WITHOUT IN ANY WAY LIMITING THE FOREGOING, SELLER AND THE DEBTOR
HEREBY     DISCLAIM  ANY    WARRANTY,    EXPRESS   OR   IMPLIED,  OF
MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR PURPOSE AS TO ANY
PORTION OF THE ACQUIRED ASSETS. BUYER FURTHER ACKNOWLEDGES THAT
BUYER HAS CONDUCTED AN INDEPENDENT INSPECTION AND INVESTIGATION OF
THE PHYSICAL CONDITION OF THE ACQUIRED ASSETS AND ALL SUCH OTHER
MATTERS RELATING TO OR AFFECTING THE ACQUIRED ASSETS AS BUYER
DEEMED NECESSARY OR APPROPRIATE AND THAT IN PROCEEDING WITH ITS
ACQUISITION OF THE ACQUIRED ASSETS, EXCEPT FOR ANY REPRESENTATIONS
AND WARRANTIES EXPRESSLY SET FORTH IN SECTION 7, BUYER IS DOING SO
BASED SOLELY UPON SUCH INDEPENDENT INSPECTIONS AND INVESTIGATIONS.
ACCORDINGLY, BUYER WILL ACCEPT THE ACQUIRED ASSETS AT THE CLOSING
“AS IS,” “WHERE IS,” “WITH ALL FAULTS,” AND “QUIT CLAIM” BASIS.
FURTHERMORE BUYER HEREBY EXPRESSLY ACKNOWLEDGES THAT THE
ASSIGNMENT AND ASSUMPTION OF THE ASSUMED CONTRACTS FORMING PART
OF THE ACQUIRED ASSETS WILL BE CONSUMMATED IN ACCORDANCE WITH THE
TERMS OF THIS AGREEMENT AND THE SALE ORDER NOTWITHSTANDING ANY AND
ALL OUTSTANDING DEFAULTS AND OTHER CLAIMS FOR FAILURES TO COMPLY
WITH THE PROVISIONS OF SUCH CONTRACTS, CERTAIN OF WHICH DEFAULTS OR
CLAIMS MAY NOT BE SUBJECT TO CURE OR WAIVER.

10.    Conduct and Transactions Prior to Closing.

      10.1 Access to Records and Properties of the Debtor. From and after the date of this
Agreement until the Closing Date, subject to execution of a confidentiality agreement customary
to similar transactions, Seller shall, upon reasonable advance notice, afford to Buyer’s

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Representatives, reasonable access during normal business hours to the Acquired Assets to the
extent Seller is reasonably able to provide such access and all records pertaining to the Acquired
Assets. Buyer, however, shall not be entitled to access any materials containing privileged
communications.

       10.2    Bankruptcy Court Matters.

                10.2.1     This Agreement is subject to approval by the Bankruptcy Court as a
       private sale. From the Effective Date and until the objection deadline established by the
       Court with respect to the Sale Motion, to the extent Seller determines necessary in the
       exercise of his fiduciary duty, Seller is permitted to cause its Representatives to initiate
       contact with, solicit or encourage submission of any inquiries, proposals or offers by, any
       Person (in addition to Buyer and its Affiliates and Representatives) in connection with any
       sale or other disposition of the Acquired Assets. Seller may respond to and otherwise deal
       with any inquiries or offers to purchase all or any part of the Acquired Assets and perform
       any and all other acts related thereto that are required under the Bankruptcy Code or other
       applicable Law, including supplying information relating to the Debtor’s business and the
       assets of the Debtor or any of its Affiliates to prospective purchasers. Seller shall have no
       obligation to perform the obligations under this Agreement if in the exercise of his
       fiduciary duties Seller determines that performance is not in the best interests of the Debtor
       or its estate.

               10.2.2      Seller will file the Sale Motion on or before February 7, 2020 to seek an
       order of the Bankruptcy Court in form and substance acceptable to Buyer that (a) approves
       the sale of the Acquired Assets to Buyer on the terms and conditions set forth in this
       Agreement and authorizes Seller to proceed with the sale of the Acquired Assets to Buyer
       on the terms and conditions set forth in this Agreement, (b) includes a specific finding that
       Buyer is a good faith purchaser of the Acquired Assets within the meaning of §363(m) of
       the Bankruptcy Code and is entitled to the protections of §363(m) of the Bankruptcy Code
       and the provisions of Section 363(n) of the Bankruptcy Code have not been violated by
       Buyer, (c) states that the sale of the Acquired Assets to Buyer shall be free and clear of all
       Encumbrances (except as expressly provided in this Agreement) pursuant to Sections
       105(a) and 363(f) of the Bankruptcy Code, and provide that any Encumbrance attach solely
       to the proceeds of the sale under Bankruptcy Code Section 363, (d) approves Seller’s
       procedures1 for the assumption and assignment to Buyer of the Assumed Contracts
       pursuant to §365 of the Bankruptcy Code, subject to Buyer’s ability to demonstrate to the
       Bankruptcy Court adequate assurance of future performance under the Assumed Contracts,
       and provide that notwithstanding the possible applicability of Bankruptcy Rules 4001,
       6004(h), 6006(d), 7062, 9014, or otherwise, the Sale Order shall be immediately effective
       and enforceable upon its entry (the “Sale Order”). Both Buyer’s and Seller’s obligations
       to consummate the transactions contemplated in this Agreement are conditioned upon the
       Bankruptcy Court’s entry of the Sale Order.

               10.2.3     In the event that this Agreement is terminated pursuant to Section 6.1.6
       or if Seller otherwise closes an Alternative Transaction within two (2) months from the



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       Effective Date, Seller, on behalf of the Debtor, shall pay to Buyer a cash amount equal to
       $20,000.00 (the “Break-Up Fee”), and the Expense Reimbursement in cash. The Expense
       Reimbursement and Break-Up Fee will be due and payable upon the closing of an
       agreement providing for an Alternative Transaction. Notwithstanding anything herein to
       the contrary, the Buyer acknowledges and agrees that the Seller will not have and has no
       liability with respect to the payment of the Expense Reimbursement and the Break-Up Fee
       and that such obligations are the obligations of the Debtor only.

               10.2.4     Announcement of Agreement; Assumed Event Ticket Sales. The Buyer
       will consult with the Seller on the terms of any press release concerning the Agreement
       and Acquired Assets. The Buyer may then issue one or more press releases upon the prior
       approval of Seller, which shall not be unreasonably withheld, announcing the existence of
       this Agreement and intent to hold Assumed Events, subject to entry of the Sale Order and
       Closing. The Parties agree to work in good faith to return the Debtor’s website and internet
       presence to functionality at the expense of Buyer pursuant to Section 3.1.2 to make a
       portion of the Deposit non-refundable. The Seller may, but has no obligation to, resume
       selling Tough Mudder event registrations through the Debtor’s event registration platform
       with Active for each of the Assumed Events. Any sales made after the Filing Date shall
       be deemed a US Ticket Sales and the proceeds delivered to the US Ticket Buyer Escrow.
       The Seller reserves the right to condition any resumption of ticket sales on obtaining a
       satisfactory indemnity from the Buyer; provided, however, that any third party buyer under
       an Alternative Transaction must provide a replacement indemnification that is
       substantively identical to any indemnity provided by Buyer, and thereafter Buyer’s
       indemnification would be void and have no force or effect.

11.    Miscellaneous.

        11.1 Reasonable Access to Records. So long as the Bankruptcy Cases are pending,
following the Closing, Buyer shall provide Seller and Seller’s Representatives with reasonable
access to all Records relating to the Acquired Assets for the purpose of the continuing
administration of the Bankruptcy Cases and pursuing claims of Seller which access shall include
(a) the right of Seller’s Representatives to copy, at Seller’s expense, such non-privileged
documents and records as Seller or Seller’s Representatives may request in furtherance of the
purposes described above, and (b) Buyer’s copying and delivering to Seller or Seller’s
Representatives such documents or records as Seller or Seller’s Representatives may request, but
only to the extent Seller or Seller’s Representatives furnish Buyer with reasonably detailed written
descriptions of the materials to be so copied and Seller reimburses Buyer for the reasonable costs
and expenses thereof.

        11.2 Notices. Unless otherwise provided herein, any notice, tender, or delivery to be
given hereunder by either party to the other may be effected by personal delivery in writing, or by
registered or certified mail, postage prepaid, return receipt requested, and shall be deemed
communicated as of the date of mailing. Mailed notices shall be addressed as set forth below, but
each party may change his address by written notice in accordance with this paragraph.




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                   To Seller:

                   Derek C. Abbott
                   Morris, Nichols, Arsht & Tunnell LLP
                   1201 North Market Street
                   P.O. Box 1347
                   Wilmington, DE 19899-1347
                   Email: dabbott@mnat.com

                   With a copy (that will not constitute notice) to:

                   R. Jason Russell
                   Morris, Nichols, Arsht & Tunnell LLP
                   1201 North Market Street
                   P.O. Box 1347
                   Wilmington, DE 19899-1347
                   Email: jrussell@mnat.com

                   To Buyer:

                   Joseph Desena
                   Spartan Race, Inc.
                   234 Congress Street, 5th Floor
                   Boston, MA 02110
                   Email: spartanracehq@gmail.com

                   With a copy (that will not constitute notice) to:

                   Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.
                   One Financial Center
                   Boston, MA 02111
                   Attention: Adrienne Walker, Esq.
                   Email: awalker@mintz.com

       11.2.1     Entire Agreement. This instrument and the documents to be executed
pursuant hereto contain the entire agreement between the parties relating to the sale of the
Acquired Assets. Any oral representations or modifications concerning this Agreement or
any such other document shall be of no force and effect excepting a subsequent
modification in writing, signed by the party to be charged.

       11.2.2     Incorporation of Exhibits and Schedules. The exhibits and schedules to
this Agreement are incorporated herein by reference and made a part hereof.

       11.2.3    Modification. This Agreement may be modified, amended or
supplemented only by a written instrument duly executed by all the parties hereto.

      11.2.4     Closing Date. All actions to be taken on the Closing pursuant to this
Agreement shall be deemed to have occurred simultaneously, and no act, document, or

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transaction shall be deemed to have been taken, delivered, or effected until all such actions,
documents, and transactions have been taken, delivered, or effected.

       11.2.5      Captions. All captions and headings contained in this Agreement are
for convenience of reference only and shall not be construed to limit or extend the terms or
conditions of this Agreement.

        11.2.6      Further Assurances. Each party hereto will execute, acknowledge and
deliver any further assurance, documents, and instruments reasonably requested by any
other party hereto for the purpose of giving effect to the transactions contemplated herein
or the intentions of the parties with respect thereto.

        11.2.7      Waiver. No waiver of any of the provisions of this Agreement shall be
deemed, or shall constitute, a waiver of other provisions, whether or not similar, nor shall
any waiver constitute a continuing waiver. No waiver shall be binding unless executed in
writing by the party making the waiver; provided, however, that the consent of a party to
the Closing shall constitute a waiver by such party of any conditions to Closing not satisfied
as of the Closing Date.

        11.2.8     Payment of Fees and Expenses. Each party to this Agreement shall be
responsible for, and shall pay, all of such party’s own fees and expenses, including those
of such party’s counsel, incurred in the negotiation, preparation and consummation of this
Agreement and the transactions described herein. Subject to Bankruptcy Court approval in
the Bidding Protections Order, the Break-Up Fee and Expense Reimbursement shall
constitute allowed administrative expense claims against Seller with priority over all
administrative expense claims and unsecured claims against Seller.

       11.2.9      Obligations of Seller. Notwithstanding anything in this Agreement to
the contrary, the obligations of Seller pursuant to this Agreement shall be subject to any
orders entered, or approvals or authorizations granted or required, by or under the
Bankruptcy Court or the Bankruptcy Code (including in connection with the Bankruptcy
Case), and Seller’s obligations as a bankruptcy trustee to comply with any order of the
Bankruptcy Court (including the Bidding Procedures Order and the Sale Order).

        11.2.10     Survival. Except for the covenants and agreements to be performed
after the Closing Date, none of the respective representations, warranties, covenants, and
agreements of Seller and Buyer herein, or in any certificates or other documents delivered
prior to or at the Closing, shall survive the Closing.

         11.2.11    Assignments. This Agreement shall not be assigned by any party hereto
without the prior written consent of Buyer, in the case of any assignment by Seller, or
Seller, in the case of any assignment by Buyer.

        11.2.12     Binding Effect. This Agreement shall bind and inure to the benefit of
the respective heirs, personal representatives, successors, and assigns of the parties hereto.

     11.2.13 Applicable Law. THIS AGREEMENT SHALL BE GOVERNED BY
AND CONSTRUED IN ACCORDANCE WITH FEDERAL BANKRUPTCY LAW, TO

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THE EXTENT APPLICABLE, AND WHERE STATE LAW IS IMPLICATED THIS
AGREEMENT SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE
WITH THE LAWS OF THE STATE OF DELAWARE, WITHOUT GIVING EFFECT
TO THE CHOICE OF LAW PRINCIPLES THEREOF, INCLUDING AS TO MATTERS
OF CONSTRUCTION, VALIDITY, AND PERFORMANCE.

        11.2.14    Good Faith. All parties hereto agree to do all acts and execute all
documents required to carry out the terms of this Agreement and to act in good faith with
respect to the terms and conditions contained herein before and after the Closing.

        11.2.15     Construction. In the interpretation and construction of this Agreement,
the parties acknowledge that the terms hereof reflect extensive negotiations between the
parties and that this Agreement shall not be deemed, for the purpose of construction and
interpretation, drafted by either party hereto.

        11.2.16    Counterparts. This Agreement may be executed in two or more
counterparts, each of which shall be deemed an original and all of which together shall
constitute one and the same instrument. A manual signature on this Agreement or other
documents to be delivered pursuant to this Agreement, an image of which shall have been
transmitted electronically, will constitute an original signature for all purposes. The
delivery of copies of this Agreement or other documents to be delivered pursuant to this
Agreement, including executed signature pages where required, by electronic transmission
will constitute effective delivery of this Agreement or such other document for all
purposes.

         11.2.17    Time is of the Essence. Time is of the essence in this Agreement, and
all of the terms, covenants and conditions hereof.

      11.2.18 Bankruptcy Court Jurisdiction. BUYER AND SELLER AGREE
THAT THE BANKRUPTCY COURT SHALL HAVE EXCLUSIVE JURISDICTION
OVER ALL DISPUTES AND OTHER MATTERS RELATING TO (i) THE
INTERPRETATION AND ENFORCEMENT OF THIS AGREEMENT OR ANY
ANCILLARY DOCUMENT EXECUTED PURSUANT TO THIS AGREEMENT; OR
(ii) THE ACQUIRED ASSETS AND ASSUMED LIABILITIES ASSUMED
PURSUANT TO OR ARISING OUT OF THIS AGREEMENT OR ANY ANCILLARY
DOCUMENT EXECUTED PURSUANT TO THIS AGREEMENT, AND BUYER
EXPRESSLY CONSENTS TO AND AGREES NOT TO CONTEST SUCH EXCLUSIVE
JURISDICTION; PROVIDED THAT IF THE BANKRUPTCY COURT IS UNWILLING
OR UNABLE TO HEAR ANY SUCH DISPUTES AND OTHER MATTERS, THEN
THE COURTS OF THE STATE OF DELAWARE, SITTING IN NEW CASTLE
COUNTY, AND THE FEDERAL COURTS OF THE UNITED STATES OF AMERICA
SITTING IN THE STATE OF DELAWARE SHALL HAVE EXCLUSIVE
JURISDICTION OVER SUCH DISPUTES AND OTHER MATTERS. EACH OF THE
PARTIES HERETO HEREBY IRREVOCABLY WAIVES ANY AND ALL RIGHT TO
TRIAL BY JURY IN ANY LEGAL PROCEEDING ARISING OUT OF OR RELATED
TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY.


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        11.2.19    No Third Party Beneficiaries. This Agreement shall not confer any
rights or remedies upon any Person other than the parties and their respective successors
and permitted assigns.

                           [Signature Page Follows]




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       IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the day
and year first above written.

                                        BUYER:

                                        SPARTAN RACE, INC.


                                        By:
                                        Name: David Piperno
                                        Title: Chief Financial Officer



                                        SELLER:

                                        DEREK C. ABBOTT, NOT INDIVIDUALLY,
                                        BUT SOLELY IN HIS CAPACITY AS CHAPTER
                                        11 TRUSTEE OF THE BANKRUPTCY ESTATE
                                        OF TOUGH MUDDER INCORPORATED AND
                                        TOUGH MUDDER EVENT PRODUCTION
                                        INCORPORATED


                                        By:
                                        Name: Derek C. Abbott, Chapter 11 Trustee




                      [Signature Page to Asset Purchase Agreement]
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Schedule 1.1.10 - Assumed Contracts
Contract Type               Contract Name    Counterparty Address                        Counterparty Contact Name       Effective Date           Cure Claims

Vendor / Service Provider   Diffusion        244 5th avenue                               Liz Duggan                     11/01/2019               $16,001
                                             New York, NY 10001
Software License            IBM/Silverpop    3 east 28th street                           Mark Hetterly                  10/01/2019               $36,213
                                             New York, NY 10016
Vendor / Service Provider   Pantheon         717 California Street San Francisco CA 94108 Job Gregory                    11/01/2019               $13,256.69

Vendor / Service Provider   Wondersauce      45 West 25th Street, 6th Floor              Megan Blake                     5/16/2019                $42,500
                                             New York, NY 10010

Software License            One Trust        1200 Abernathy Rd NE, Building 600          Steve Rubenstein                6/18/2019                $6,336.00
                                             Atlanta, Georgia 30328

Software License            Bynder           Subscription Service                        N/A                             4/3/2019                 Unk, Credit Card

Software License            AWS              Subscription Service                        N/A                             Monthly subscription     ~$3,000


Software License            Github           Subscription Service                        N/A                             Monthly subscription     $100, on credit card


Software License            Cloudingo        Subscription Service                        N/A                             April 2019               $0
Vendor / Service Provider   Materialogic     Materialogic                                A. Milton Cornwell              1/1/2014                 $22,543.14
                                             3100 Corporate Exchange Ct, Bridgeton, MO
                                             63044
Vendor / Service Provider   Ryder Leasing    Ryder Shared Services Center -              Rental Agreement #'s:           Various, rental          $0
                                             Customer Care, 6000 Windward Pkwy,          00707765                        agreements
                                             Alpharetta, GA                              00731074
                                             30005.                                      00731478
                                                                                         00733093
                                                                                         00733094
                                                                                         00733096
                                                                                         00733097
                                                                                         00733098
                                                                                         00733194
Software License            Rosterfy         2420 17th Street Tenant LLC                 Shannon Gove                    Quarterly subscription   $2,876.45
                                             2420 17th St
                                             Denver,
                                             CO 80202
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Contract Type               Contract Name                Counterparty Address                          Counterparty Contact Name        Effective Date          Cure Claims

Vendor / Service Provider   Dyehard Fan Supply           Dyehard Fan Supply                            Scott Killian                    1/1/2018, Amended for   $0
                                                         1001 West Fourth Street                                                        1/1/2020
                                                         Winstom-Salem, NC 27101

Software License            G-Suite                      Subscription Service                          N/A                              June 2019               $0
Licensee                    Tough Mudder Bootcamp        TM Bootcamp                                   Britt Canady / John Cross        5/25/19                 $0
                                                         c/o John M. Cross, Jr.
                                                         Brooks Pierce
                                                         2000 Renaissance Plaza
                                                         230 North Elm Street
                                                         Greensboro, N.C. 27401
Sponsor / Revenue /         EveryManJack                 Every Man Jack                                Ritch Viola                      1/1/2019                $0
Comm. Support                                            500 Tamal Plaza
                                                         Suite 505
                                                         Corte Madera, CA 94925
Sponsor / Revenue /         Navy Federal Credit Union    Navy Federal Credit Union                     Patty Valezuela Stover           1/1/2019                $0
Comm. Support                                            820 Follin Lane
                                                         Vienna, VA 22180

Sponsor / Revenue /         EventHub                     Event Hub                                     Michael Bleu                     10/2019                 $0
Comm. Support                                            6523 California Avenue, Suite 148, Seattle,
                                                         WA 98136

Licensee                    IMG (Australia)              IMG                                           Marcus Gale                      1/1/19                  $635.00
                                                         Level 8
                                                         580 St. Kilda Road
                                                         Melbourne, Victoria, Australia

Licensee                    RunIreland (Ireland)         RunIreland Ltd.                               Ray O'Connor                     7/24/19                 $0
                                                         Unit 3
                                                         Liosban Business Park, Tuam Road
                                                         Galway, Ireland


Licensee                    Crescent Valley Ltd (South   Cresent Valley Pty Ltd.                       Andrew Douglas                   9/1/17                  $0
                            Africa)                      35 Bell Cresent
                                                         Tokai, WC 7945
Licensee                    Sabco Sports (UAE, Oman,     Sabco Sports LLC                              Nic Cartwright                   1/1/19                  $0
                            Bahrain, Pakistan, Qatar)    PO Box 3779
                                                         PC 112, Ruwi
                                                         Muscat, Sultanate of Oman
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Contract Type   Contract Name                 Counterparty Address                         Counterparty Contact Name     Effective Date   Cure Claims

Licensee        KHO Capital (Philippines)     KHO Capital                                  Jake Zimmerman                1/1/20           $0
                                              832 A. Arnaiz Ave
                                              2nd Floor
                                              Makati, Philippines
Licensee        Black Tie Sports (Croatia)    Black Tie Sports Ltd.                        Marko Martinović              8/1/18           $0
                                              Wangdun Road 135
                                              SIP, Suzhou, China
Licensee        Realize Massive (Italy)       Realize S.R.L.                               Fabiana De Rosa               12/1/18          $0
                                              Piazza IV Novembre
                                              4-20124
                                              Milano, Italy
Licensee        TriFactory (egypt)            The TriFactory                               Ayman Hakky                   5/1/19           $0
                                              17 Mansour Mohamed Street
                                              Zamalek, Cairo, Egypt 11211


Licensee        Ponto Org Organizacao de      Ponto Org Organizacao de Eventos Ltda          Henrique Gomes              6/1/19           $0
                Eventos Ltda                  (Brasil)
                                              Rua Arrudas 245
                                              Sala 05, Santa Lucia
                                              Belo Horizante MG Brasil
Licensee        Cho TM Korea (South           Andrew Cho                                     Andrew Cho                  10/1/19          $0
                Korea)                        200 Winston Drive
                                              Clifside Park, NJ 07010
Licensee        Hamburger Asia                Hamburger Asia Sdn. Bhd.                       Miyeera Navaretna           10/1/19          $0
                (Singapore, Malaysia)         Level 7, Oasis Wing,
                                              Brunsfield, Oasis Tower 3, 2, Jalan PJU 1A/7A,
                                              Oasis Square, Oasis Damansara
                                              47301 Petaling Jaya, Selangor Darul Ehsan
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Schedule 1.1.11 - Assumed Events

Venue Name                  Counterparty Address                   Counterparty Name     Event Dates                  Brief Description       Effective Date   Cure Claims
Camp William B. Snyder (Boy 6100 Antioch Rd, Haymarket, VA         Mario Perez           May 30-31, 2020              Virginia Venue          9/25/19                         $25,000
Scouts of America)          20169
                            -
                            Notice Address:
                            National Capital Area Council, BSA
                             9190 Rockville Pike,
                            Bethesda, MD 20814

Wild Wings of Oneka          9491 152nd St. N                      Jeff Hughes           July 11-12, 2020             Twin Cities Venue       4/9/19                              $0
                             Hugo, MN 55038
Chicago Rockford             Greater Rockford Airport Authority    Michael Dunn          August 22-23, 2020           Chicago Venue           9/30/2019                           $0
International Airport        2 Airport Cir, Rockford, IL 61109


Raceway Park                 Old Bridge Township Raceway, Inc.     Michael Napoliello    Sept 12-13, 2020             Tri-State Venue         9/18/19                        $110,000
                             230 Pension Rd, Englishtown, NJ 07726


Palmer Coking Coal Company 31407 WA-169, Black Diamond, WA         William Kombol        Sept 19-20, 2020             Seattle Venue           9/19/19                         $13,879
                           98010
Lake Elsinore              500 Diamond Dr, Lake Elsinore, CA       Mark Beskid           Nov 14-15, 2020 (will want to So Cal Venue           9/30/19                         $10,000
                           92530                                                         shift to October)
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Schedule 2.1.6 - Intellectual Property Assets


                                   Mark Name                                Country                 Application           Registration
  TOUGH MUDDER                                                              Australia                 1095812              8/23/2011
  FUNKY MONKEY                                                              Australia                 1565324              5/23/2013
  ELECTROSHOCK THERAPY                                                      Australia                A0035955              5/23/2013
  EVEREST                                                                   Australia                 1565415              5/23/2013
  TOUGH MUDDER                                                              Australia                 1554879               4/3/2013
  ARCTIC ENEMA                                                              Australia                 1565231              5/23/2013
  MINI MUDDERS                                                              Australia                 1521267              3/17/2015
  TOUGH MUDDER AND DESIGN (MAN W/FLAMES)                                    Australia                 1501433              7/11/2012
  TOUGH MUDDER HALF (AND DESIGN)                                            Australia                1,732,742             11/5/2015
  TOUGH MUDDER LOGO NO FLAMES                                               Australia                A0035200              4/10/2013
  TOUGH MUDDER RUNNING MAN                                                  Australia                A0035199              4/10/2013
  TOUGH MUDDER AND DESIGN (MAN W/FLAMES)                                     Canada                  1,584,295             4/28/2014
  MINI MUDDER                                                                Canada                  1,712,048             4/12/2016
  TOUGH MUDDER                                                               Canada                  1,540,495             10/10/2012
  TOUGH MUDDER                                                                China                  19106975
  TOUGH MUDDER                                                                China                  19106977
  TOUGH MUDDER HALF                                                           China                  19,106,979
  TOUGH MUDDER                                                                China                  19106978              3/21/2018
  TOUGH MUDDER                                                                China                  22673062              2/21/2018
  TOUGH MUDDER                                                                China                  22673061
  TOUGH MUDDER                                                                China                  18032519              11/14/2016
  MUD TOUGH MAN TEAM OBSTACLE CHALLENGE
                                                                             China                   19191570               4/7/2017
  (in Chinese)
  MUD TOUGH MAN TEAM OBSTACLE CHALLENGE
                                                                             China                   19191571               4/7/2017
  (in Chinese)
  Strongest Mudder International Obstacle Challenge
                                                                             China                   19829217              6/21/2017
  (in Chinese)
  Strongest Mudder International Obstacle Challenge
                                                                             China                   19829218              6/21/2017
  (in Chinese)
  TOUGH MUDDER AND DESIGN (MAN W/FLAMES)                                     China                   19106976              3/21/2018
  TOUGH MUDDER AND DESIGN (MAN W/FLAMES)                                     China                   22673060
  TOUGH MUDDER AND DESIGN (MAN W/FLAMES)                                     China                   22673059
  Strongest Mudder Obstacle Challenge – Half Distance
                                                                             China                   19829216              6/21/2017
  (in Chinese)
  Strongest Mudder Obstacle Challenge – Half Distance
                                                                             China                   19829215              6/21/2017
  (in Chinese)
  TOUGH MUDDER HALF (AND DESIGN)                                              China                  22673064
  TOUGH MUDDER HALF (AND DESIGN)                                              China                  22673063
  TOUGH MUDDER HALF (AND DESIGN)                                              China                  19106980              3/21/2018
  Toughest Mudder (in Chinese)                                                China                  19854759              6/21/2017
  Toughest Mudder (in Chinese)                                                China                  19854758              6/21/2017
  TOUGH MUDDER (MAN W/FLAMES)                                                 China                  27401801
  TOUGH MUDDER HALF (AND DESIGN)                                              China                  27401800
  TOUGH MUDDER                                                                China                  31793586
  TOUGH MUDDER                                                              Colombia                 13.253.911            7/29/2014
  ELECTROSHOCK THERAPY                                                       EU IPO                  A0035955              5/23/2013
  ARCTIC ENEMA                                                               EU IPO                  A0035958              5/23/2013
  TOUGH MUDDER                                                               EU IPO                  A0035078              4/3/2013
  EVEREST                                                                    EU IPO                  A0035953              5/23/2013
  TOUGH MUDDER                                                               EU IPO                   1095812              8/23/2011
  TOUGH MUDDER (MAN W/FLAMES)                                                EU IPO                  A0035007              3/29/2013
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                            Mark Name                          Country                    Application           Registration
MISSION: MUDDER                                                  EU IPO                    16464786               6/6/2018
TOUGH MUDDER RUNNING MAN                                         EU IPO                    A0035199              4/10/2013
TOUGH MUDDER LOGO NO FLAMES                                      EU IPO                    A0035200              4/10/2013
TOUGH MUDDER (MAN W/ FLAMES)                                       HK                      302606715             12/11/2013
TOUGH MUDDER (MAN W/OUT FLAMES)                                    HK                      302606698             12/11/2013
TOUGH MUDDER HALF (AND DESIGN)                                     HK                      303677149              2/2/2016
TOUGH MUDDER AND DESIGN (MAN W/FLAMES)                         Indonesia                J00.2016.006905
TOUGH MUDDER AND DESIGN (MAN W/FLAMES)                         Indonesia                D00.2016.006900
TOUGH MUDDER                                                   Indonesia                D00.2016.006903
TOUGH MUDDER                                                   Indonesia                J00.2016.006908
TOUGH MUDDER HALF (AND DESIGN)                                 Indonesia                   A0072730
TOUGH MUDDER HALF (AND DESIGN)                               International                 A0072730              1/10/2018
TOUGH MUDDER                                                 International                 A0072738              1/10/2018
TOUGH MUDDER LOGO NO FLAMES                                  International                 A0035200              4/10/2013
TOUGH MUDDER RUNNING MAN                                     International                 A0035199              4/10/2013
ARCTIC ENEMA                                                 International                 A0035958              5/23/2013
FUNKY MONKEY                                                 International                 A0035957              5/23/2013
TOUGH MUDDER                                                 International                 A0035078               4/3/2013
EVEREST                                                      International                 A0035953              5/23/2013
TOUGH MUDDER                                                 International                 A0035633               5/6/2013
TOUGH MUDDER                                                 International                  1095812              8/23/2011
ELECTROSHOCK THERAPY                                         International                 A0035955              5/23/2013
TOUGH MUDDER (MAN W/FLAMES)                                  International                 A0035007              3/29/2013
TOUGH MUDDER (MAN W/FLAMES)                                      Japan                     A0035007              3/29/2013
TOUGH MUDDER HALF (AND DESIGN)                                   Japan                    2016-12438              7/1/2016
TOUGH MUDDER                                                     Japan                     A0035078               4/3/2013
TOUGH MUDDER                                                     Japan                      1095812              8/23/2011
TOUGH MUDDER RUNNING MAN                                         Japan                     A0035199              4/10/2013
TOUGH MUDDER LOGO NO FLAMES                                      Japan                     A0035200              4/10/2013
TOUGH MUDDER HALF (AND DESIGN)                                     KR                   45-2016-0001528          11/22/2016
TOUGH MUDDER LOGO NO FLAMES                                        KR                      A0035200              4/10/2013
TOUGH MUDDER RUNNING MAN                                           KR                      A0035199              4/10/2013
TOUGH MUDDER                                                       KR                      A0035078               4/3/2013
TOUGH MUDDER                                                       KR                       1459680              8/23/2011
TOUGH MUDDER (MAN W/FLAMES)                                        KR                      A0035007              3/29/2013
TOUGH MUDDER HALF (AND DESIGN)                                   Macau                     N/108602              7/26/2016
TOUGH MUDDER HALF (AND DESIGN)                                   Macau                     N/108601              7/26/2016
TOUGH MUDDER AND DESIGN (MAN W/FLAMES)                           Macau                     N/108600              7/26/2016
TOUGH MUDDER AND DESIGN (MAN W/FLAMES)                           Macau                     N/108599              7/26/2016
TOUGH MUDDER                                                     Macau                     N/108597              7/26/2016
TOUGH MUDDER                                                     Macau                     N/108598              7/26/2016
TOUGH MUDDER                                                    Mexico                     A0072738
TOUGH MUDDER HALF (AND DESIGN)                                  Mexico                     A0072730
TOUGH MUDDER RUNNING MAN                                           NZ                      A0035199              4/4/2013
TOUGH MUDDER                                                       NZ                        965352              9/12/2012
TOUGH MUDDER AND DESIGN (MAN W/FLAMES)                             NZ                        965353              9/12/2012
TOUGH MUDDER (MAN W/FLAMES)                                     Norway                     A0035007              3/29/2013
TOUGH MUDDER                                                    Norway                      1095812              8/23/2011
TOUGH MUDDER                                                    Norway                     A0035078              4/3/2013
TOUGH MUDDER RUNNING MAN                                        Norway                     A0035199              4/10/2013
TOUGH MUDDER LOGO NO FLAMES                                     Norway                     A0035200              4/10/2013
TOUGH MUDDER HALF (AND DESIGN)                                   Oman                      A0072730
TOUGH MUDDER                                                     Oman                      A0072738
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                            Mark Name                         Country                   Application            Registration
TOUGH MUDDER HALF (AND DESIGN)                               Philippines                 A0072730
TOUGH MUDDER LOGO NO FLAMES                                  Philippines               4-2016-501680            6/16/2016
TOUGH MUDDER                                                 Philippines               4-2016-501684            8/11/2016
TOUGH MUDDER (MAN W/ FLAMES)                                 Philippines               4-2016-501681            6/10/2016
TOUGH MUDDER RUNNING MAN LOGO                                Philippines               4-2016-501679            6/16/2016
TOUGH MUDDER HALF (AND DESIGN)                                Singapore                40201601956W             6/9/2016
TOUGH MUDDER (MAN W/FLAMES)                                   Singapore                  A0035007               3/29/2013
TOUGH MUDDER                                                  Singapore                   1095812               8/23/2011
TOUGH MUDDER                                                  Singapore                  A0035078               4/3/2013
TOUGH MUDDER LOGO NO FLAMES                                   Singapore                  A0035200               4/10/2013
TOUGH MUDDER HALF (AND DESIGN)                                    SA                    2018/01314
TOUGH MUDDER HALF (AND DESIGN)                                    SA                    2018/01315
TOUGH MUDDER                                                      SA                    2013/09853              1/30/2015
TOUGH MUDDER                                                      SA                    2013/09854              1/30/2015
TOUGH MUDDER (MAN W/FLAMES)                                       SA                    2013/09855              1/30/2015
TOUGH MUDDER (MAN W/FLAMES)                                       SA                    2013/09856              1/30/2015
TOUGH MUDDER (MAN W/FLAMES)                                  Switzerland                 A0035007               3/29/2013
TOUGH MUDDER                                                 Switzerland                  1095812               8/23/2011
TOUGH MUDDER                                                 Switzerland                 A0035078                4/3/2013
TOUGH MUDDER RUNNING MAN                                     Switzerland                 A0035199               4/10/2013
TOUGH MUDDER LOGO NO FLAMES                                  Switzerland                 A0035200               4/10/2013
TOUGH MUDDER                                                    Taiwan                   105011099              10/16/2016
TOUGH MUDDER HALF (AND DESIGN)                                  Taiwan                   105011098              10/16/2016
TOUGH MUDDER AND DESIGN (MAN W/FLAMES)                          Taiwan                   105011100              10/16/2016

                                                                UAE                         251873              3/13/2018
TOUGH MUDDER AND DESIGN (MAN W/FLAMES)
TOUGH MUDDER AND DESIGN (MAN W/FLAMES)                          UAE                       251872                3/13/2018
TOUGH MUDDER HALF (AND DESIGN)                                  UAE                       251875                3/13/2018
TOUGH MUDDER HALF (AND DESIGN)                                  UAE                       251874                3/13/2018
TOUGH MUDDER                                                    UAE                       203084                1/18/2016
TOUGH MUDDER BOOTCAMP                                           UAE                       278407
TOUGH MUDDER BOOTCAMP                                           UAE                       278408
TOUGH MUDDER BOOTCAMP (SHIELD DESIGN)                           UAE                       278409
TOUGH MUDDER BOOTCAMP (SHIELD DESIGN)                           UAE                       278410
TOUGH MUDDER BOOTCAMP (STACKED DESIGN)                          UAE                       278411
TOUGH MUDDER BOOTCAMP (STACKED DESIGN)                          UAE                       278412
MINI MUDDER                                                     UK                       3090375                4/24/2015
TOUGH MUDDER HALF (AND DESIGN)                                  UK                    UK00003134617             11/4/2015
MISSION: MUDDER                                                 UK                       3218551                8/4/2017
ELECTROSHOCK THERAPY                                            UK                       A0035955               5/23/2013
ARCTIC ENEMA                                                    UK                       A0035958               5/23/2013
EVEREST                                                         UK                       A0035953               5/23/2013
TOUGHER MUDDER                                                  USA                     87/333,713              9/18/2018
TOUGHEST MUDDER                                                 USA                     87/271,032              2/20/2018
MINI MUDDER                                                     USA                     86/535,541              1/19/2016
COLOR ORANGE                                                    USA                     86/189,056              1/20/2015
MUDDER’S DAY MADNESS 5K                                         USA                     86/341,618              3/17/2015
TOUGH MUDDER RUNNING MAN LOGO                                   USA                     85/895,023              6/24/2014
MUDDERELLA (DESIGN)                                             USA                     85/938,041              6/17/2014
TOUGH MUDDER (WITHOUT FLAMES) & DESIGN                          USA                     85/894,969              8/12/2014
TOUGHEST MUDDER LOGO                                            USA                     87/271,170              2/27/2018
URBAN MUDDER (LOGO)                                             USA                     86/539,576              2/23/2016
TOUGH MUDDER HALF (AND DESIGN)                                  USA                     86/804,465              8/14/2018
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                             Mark Name                          Country                Application           Registration
TOUGH MUDDER (ORANGE HEADBAND)                                    USA                   85/896,107            11/26/2013
TOUGH MUDDER LOGO (MAN W/FLAMES)                                  USA                   85/696,468            6/17/2014
TOUGH MUDDER LOGO (MAN W/FLAMES)                                  USA                   85/692,214            3/26/2013
CRY BABY                                                          USA                   86/515,713             9/1/2015
PROBABLY THE TOUGHEST EVENT ON THE PLANET                         USA                   85/401,264             4/3/2012
BIRTH CANAL                                                       USA                   86/515,663             9/1/2015
THE LIBERATOR                                                     USA                   86/515,698             9/1/2015
MUDDER                                                            USA                   85/964,910             5/6/2014

                                                                 USA                    85/971,721            2/18/2014
HANGIN TOUGH
ARCTIC ENEMA                                                     USA                    85/715,205            3/26/2013
UNDERWATER TUNNELS                                               USA                    85/715,743            5/21/2013
CAGE CRAWL                                                       USA                    85/971,771            2/18/2014
GLORY BLADES                                                     USA                    85/971,832            2/18/2014
TOUGH MUDDER                                                     USA                    85/889,216            1/14/2014
MINI MUDDER                                                      USA                    86/464,578            1/10/2017
URBAN MUDDER                                                     USA                    86/315,762            12/15/2015
WORLD’S TOUGHEST MUDDER                                          USA                    86/401,350            6/30/2015
MUDDER LEGION                                                    USA                    86/262,485            9/15/2015
TRENCH WARFARE                                                   USA                    85/715,301             6/4/2013
FUNKY MONKEY                                                     USA                    85/715,629            5/21/2013
MUDDER NATION                                                    USA                    85/575,337            11/13/2012
KISS OF MUD                                                      USA                    85/403,646            4/24/2012
EVEREST                                                          USA                    85/715,591             4/2/2013
THE HANGOVER                                                     USA                    86/515,740            10/6/2015
MUDDERELLA                                                       USA                    85/897,953            6/17/2014
OWN YOUR STRONG                                                  USA                    85/938,075            6/17/2014
ELECTROSHOCK THERAPY                                             USA                    85/715,623            3/26/2013
RINSE + REVIVE                                                   USA                    85/938,097            7/22/2014
BERLINS WALLS                                                    USA                    85/715,802            4/23/2013
TOUGH MUDDER                                                     USA                    77/862,682            6/29/2010
KING OF THE SWINGERS                                             USA                    86/515,683             9/1/2015
HOLD YOUR WOOD                                                   USA                    85/403,562             5/1/2012
TOUGH MUDDER LOGO (MAN W/FLAMES)                                 USA                    85/407,879            4/24/2012
WORLD’S TOUGHEST MUDDER (AND DESIGN)                             USA                    87/475,050            11/7/2017
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                     Domain Registrar                                            Domain Name
https://my.101domain.com                              BIGMUDDER.CA
https://my.101domain.com                              BIGMUDDER.CH
https://my.101domain.com                              BIGMUDDER.CO
https://my.101domain.com                              BIGMUDDER.CO.NZ
https://my.101domain.com                              bigmudder.co.uk
https://my.101domain.com                              bigmudder.com
https://my.101domain.com                              BIGMUDDER.COM.AU
https://my.101domain.com                              BIGMUDDER.ES
https://my.101domain.com                              bigmudder.eu
https://my.101domain.com                              BIGMUDDER.INFO
https://my.101domain.com                              BIGMUDDER.JP
https://my.101domain.com                              BIGMUDDER.MX
https://my.101domain.com                              BIGMUDDER.NL
https://my.101domain.com                              BIGMUDDER.PE
https://my.101domain.com                              BIGMUDDER.PRO
https://my.101domain.com                              BIGMUDDER.US
https://my.101domain.com                              BIGMUDDER.US.COM
https://my.101domain.com                              BIGMUDDER.XXX
https://my.101domain.com                              BIGMUDDERFOUNDATION.COM
https://my.101domain.com                              BIGMUDDERFOUNDATION.ORG
https://my.101domain.com                              celebritytoughmudder.com
https://my.101domain.com                              championmudder.com
https://my.101domain.com                              fiercemudder.com
https://my.101domain.com                              halfmudder.co.uk
https://my.101domain.com                              halfmudder.com.au
https://my.101domain.com                              halfmudder.de
https://my.101domain.com                              halfmudder.com
https://my.101domain.com                              lilmudder.com
https://my.101domain.com                              live-tough.com
https://my.101domain.com                              livetough.com
https://my.101domain.com                              marathonmudder.com
https://my.101domain.com                              metromudder.com
https://my.101domain.com                              mightymudder.com
https://my.101domain.com                              millionmudders.com
https://my.101domain.com                              MUD-MOISELLE.ASIA
https://my.101domain.com                              MUD-MOISELLE.CH
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                     Domain Registrar                                           Domain Name
https://my.101domain.com                              mudderangels.co.uk
https://my.101domain.com                              mudderangels.com
https://my.101domain.com                              mudderangels.net
https://my.101domain.com                              mudderangels.org
https://my.101domain.com                              mudderchallenge.com
https://my.101domain.com                              mudderchallenge.de
https://my.101domain.com                              MUDDERELLA.ASIA
https://my.101domain.com                              MUDDERELLA.CH
https://my.101domain.com                              MUDDERELLA.COM
https://my.101domain.com                              MUDDERELLA.COM.AU
https://my.101domain.com                              MUDDERELLA.IT
https://my.101domain.com                              MUDDERELLA.PT
https://my.101domain.com                              MUDDERELLA.VN
https://my.101domain.com                              MUDDERISTA.ASIA
https://my.101domain.com                              MUDDERISTA.CH
https://my.101domain.com                              mudderlegion.com
https://my.101domain.com                              muddernation.com
https://my.101domain.com                              MUDERELLA.ASIA
https://my.101domain.com                              MUDERELLA.CA
https://my.101domain.com                              MUDERELLA.CH
https://my.101domain.com                              MUDERELLA.CO.UK
https://my.101domain.com                              MUDERELLA.COM
https://my.101domain.com                              MUDERELLA.COM.AU
https://my.101domain.com                              MUDERELLA.US
https://my.101domain.com                              MUDERISTA.ASIA
https://my.101domain.com                              MUDERISTA.CH
https://my.101domain.com                              MUDERISTA.VN
https://my.101domain.com                              MUDMOISELLE.ASIA
https://my.101domain.com                              MUDMOISELLE.CH
https://my.101domain.com                              mudwarriorchallenge.com
https://my.101domain.com                              nightmudder.com
https://my.101domain.com                              nightmudder.co.uk
https://my.101domain.com                              nightmudder.com.au
https://my.101domain.com                              onemillionmudders.com
http://www.networksolutions.com/                      powermudder.com
http://www.networksolutions.com/                      primalmudder.com
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                     Domain Registrar                                            Domain Name
http://www.networksolutions.com/                      rebelmudder.com
https://my.101domain.com                              robinhoodtoughmudder.com
http://www.networksolutions.com/                      roughmudder.com
http://www.networksolutions.com/                      ruckusmudder.com
http://www.networksolutions.com/                      ruggedmudder.com
http://www.networksolutions.com/                      savagemudder.com
http://www.networksolutions.com/                      shopmudderella.com
https://www.melbourneit.com.au/                       softmudder.com
http://www.networksolutions.com/                      spartanmudder.com
http://www.networksolutions.com/                      strongmudder.com
http://www.networksolutions.com/                      survivalmudder.com
https://my.101domain.com                              theminimudder.com
https://my.101domain.com                              tmhq.com
https://my.101domain.com                              tmhqalumni.com
https://my.101domain.com                              tmhqonline.com
https://my.101domain.com                              tough-challenge.at
https://my.101domain.com                              tough-challenge.be
https://my.101domain.com                              tough-challenge.co.nz
GoDaddy.com                                           tough-challenge.co.uk
https://my.101domain.com                              TOUGH-CHALLENGE.CO.ZA
https://my.101domain.com                              tough-challenge.com
https://my.101domain.com                              tough-challenge.com.au
GoDaddy.com                                           tough-challenge.de
GoDaddy.com                                           tough-challenge.es
GoDaddy.com                                           tough-challenge.fr
GoDaddy.com                                           tough-challenge.it
https://my.101domain.com                              tough-challenge.nl
https://my.101domain.com                              tough-challenge.se
https://my.101domain.com                              TOUGH-CHALLENGE.SG
https://my.101domain.com                              TOUGH-MUDDER.COM
https://my.101domain.com                              toughestmudder.com
https://my.101domain.com                              toughestmudder.co.uk
https://my.101domain.com                              toughestmudder.com.au
https://my.101domain.com                              toughestmudder.de
https://my.101domain.com                              TOUGHMUDDER.AE
https://my.101domain.com                              toughmudder.asia
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                     Domain Registrar                                           Domain Name
https://my.101domain.com                              toughmudder.be
http://www.networksolutions.com/                      toughmudder.biz
http://www.networksolutions.com/                      toughmudder.bz
https://my.101domain.com                              toughmudder.ca
http://www.networksolutions.com/                      toughmudder.cc
https://my.101domain.com                              toughmudder.ch
https://my.101domain.com                              toughmudder.co
https://my.101domain.com                              toughmudder.co.nz
https://my.101domain.com                              toughmudderhalf.co.nz
http://www.names.co.uk/                               toughmudder.co.uk
https://my.101domain.com                              toughmudder.co.uk
https://www.melbourneit.com.au/                       toughmudder.com
https://my.101domain.com                              toughmudder.com.au
https://my.101domain.com                              toughmudder.com.mx
https://my.101domain.com                              toughmudder.cz
https://my.101domain.com                              toughmudder.de
https://my.101domain.com                              toughmudder.es
https://my.101domain.com                              TOUGHMUDDER.FI
GoDaddy.com                                           toughmudder.fr
https://my.101domain.com                              TOUGHMUDDER.HK
https://my.101domain.com                              toughmudder.id
https://my.101domain.com                              toughmudder.ie
http://www.networksolutions.com/                      toughmudder.info
https://my.101domain.com                              toughmudder.kr
http://www.networksolutions.com/                      toughmudder.me
http://www.networksolutions.com/                      toughmudder.mobi
https://my.101domain.com                              toughmudder.mx
http://www.networksolutions.com/                      toughmudder.name
https://my.101domain.com                              toughmudder.net
https://my.101domain.com                              toughmudder.nl
https://my.101domain.com                              toughmudder.org
https://my.101domain.com                              toughmudder.pro
http://www.networksolutions.com/                      toughmudder.pro
https://my.101domain.com                              toughmudder.sg
http://www.networksolutions.com/                      toughmudder.tel
http://www.networksolutions.com/                      toughmudder.tv
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                     Domain Registrar                                             Domain Name
http://www.networksolutions.com/                      toughmudder.us
http://www.networksolutions.com/                      toughmudder.us.com
http://www.networksolutions.com/                      toughmudder.xxx
http://www.networksolutions.com/                      toughmudder.xyz
https://my.101domain.com                              TOUGHMUDDERALUMNI.COM
https://my.101domain.com                              toughmudderchina.com
https://my.101domain.com                              toughmudderclothes.com
https://my.101domain.com                              toughmudderdev.com
http://www.networksolutions.com/                      toughmudderfoundation.org
https://my.101domain.com                              toughmuddergear.ca
GoDaddy.com                                           toughmuddergear.com
https://my.101domain.com                              toughmuddergear.com.au
https://my.101domain.com                              toughmuddergear.de
https://my.101domain.com                              toughmuddergears.com.au
https://my.101domain.com                              toughmudderhalf.co
https://my.101domain.com                              toughmudderhalf.co.uk
https://my.101domain.com                              toughmudderhalf.com
https://my.101domain.com                              toughmudderhalf.com.au
https://my.101domain.com                              toughmudderhalf.mx
https://my.101domain.com                              toughmudderhalf.net
https://my.101domain.com                              toughmudderhalf.nz
https://my.101domain.com                              toughmuddermechanics.com
https://my.101domain.com                              toughmudderphotos.com
https://my.101domain.com                              toughmudderrobinhood.com
https://my.101domain.com                              toughmuddershop.com.au
https://my.101domain.com                              toughmudderstore.co.uk
http://www.networksolutions.com/                      toughmudderstore.com
http://www.networksolutions.com/                      toughmuddersupport.com
https://my.101domain.com                              toughmudderteamgear.com
http://www.networksolutions.com/                      toughmudderteamshirts.com
https://www.melbourneit.com.au/                       toughmuddertv.com
http://www.networksolutions.com/                      toughmudderventures.com
https://my.101domain.com                              toughmudderwear.com
https://www.melbourneit.com.au/                       tuffmudder.com
https://my.101domain.com                              urbanmudder.ca
https://my.101domain.com                              urbanmudder.co.uk
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                      Domain Registrar                                             Domain Name
https://my.101domain.com                               urbanmudder.com
https://my.101domain.com                               urbanmudder.com.au
http://www.networksolutions.com/                       warriormudder.com
https://www.melbourneit.com.au/                        worldstoughestmudder.com
http://www.networksolutions.com/                       worldstoughestmudder.tv
https://www.melbourneit.com.au/                        worldstoughestmuddertv.com
http://www.networksolutions.com/                       yoursaturdayisajoke.com
www.corsearchdomains.com                               toughmudder.cn
https://my.101domain.com                               americastoughestmudder.com
https://my.101domain.com                               canadastoughestmudder.com
https://my.101domain.com                               europestoughestmudder.com
https://my.101domain.com                               europestoughestmudder.co.uk
https://domains.google.com                             toughmudderbootcampfranchising.com
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Schedule 2.1.7 - Tangible Personal Property

Asset ID                                         Location of Assets                                                            Description of Assets
Tough Mudder Warehouse      Carrie Steempin                                                   All Tough Mudder inventory, including shirts, headbands, consumable event supplies,
                            c/o Materialogic                                                  signage, banners, decor items, and other materials under TM's contract with
                            3100 Corporate Exchange Ct,                                       Materialogic.
                            Bridgeton, MO 63044
West Coast Obstacle Kit     Lake Las Vegas Association                                        Seller’s Obstacle course components under the supervision of Trademac Associates,
                            Attn: President                                                   stored at the 2019 Tough Mudder Las Vegas venue.
                            2030 Lake Las Vegas Parkway, Henderson, NV

West Coast Obstacle Kit     Gary Brewer                                                       Seller’s Obstacle course components in the possession of Trademac Associates, stored in
                            Trademarc Associates                                              their facility.
                            880 Cara Court, Bangor, PA
Mid-West Obstacle Kit       Stored at: Clear Springs Ranch • 5020 Cox Rd. Bartow, FL 33830; Seller’s Obstacle course components in the sueprvision of David Watkins Homes, located
                                                                                            at the previous Dec 2019 venue in Central Florida.
                            Mailing Address: Patrick Carroll, 6105 Spirit Lake Road, Winter
                            Haven, FL 33880


East Coast Obstacle Kit     Hugh Lochore                                                      Seller’s Obstacle course components under the supervision of Valley Builders, stored at
                            Bouckaert Farms,                                                  the 2019 Tough Mudder Atlanta event Bouckaert Farms venue.
                            9445 Browns Lake Rd;
                            Fairburn, Georgia 30213;
East Coast Obstacle Kit     William Wall                                                      Seller’s Obstacle course components in the possession of Valley Builders, stored in their
                            Valley Builders                                                   facility in Emmaus, PA.
                            775 Furnace St,
                            Emmaus, PA 18049
West Coast Event Trailers   Gale Powers                                                       Event kit materials stored in four Ryder leased trailers, including durable goods and
                            ISM Raceway,                                                      expendable inventory.
                            7602 S Avondale Blvd,
                            Avondale, AZ 85323
East Coast Event Trailers   Stored at: Clear Springs Ranch • 5020 Cox Rd. Bartow, FL 33830;   Event kit materials stored in four Ryder leased trailers, including durable goods and
                                                                                              expendable inventory.
                            Mailing Address: Patrick Carroll, 6105 Spirit Lake Road, Winter
                            Haven, FL 33880


Office Inventory            Tough Mudder Offices                                              All computers, paper files, branded apparel and other promotional goods, owned
                            15 Metrotech Center,                                              printers and IT equipment, video production equipment and cameras, tools, and event
                            7th & 8th Floor, Brooklyn, NY                                     materials. Specifically excludes furnishings, gym equipment and office decor.



Wuxi Mayshee Order          Jessica Wee                                                       Global headband and other consumable item order. Purchase order issued but not yet
                            Wuxi Mayshee Developing Company                                   paid for.
                            jessicawee@mayshee.cn
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                                            EXHIBIT A

                                    FORM OF BILL OF SALE

                                          BILL OF SALE

       This BILL OF SALE (this “Bill of Sale”), is executed and delivered as of [February __],
2020, by Derek C. Abbott, not individually, but solely in his capacity as chapter 11 trustee (the
“Trustee” or “Seller”) of the bankruptcy estate of Tough Mudder Incorporated and Tough Mudder
Event Production Incorporated to Spartan Race, Inc., a Delaware corporation (“Buyer”).

       WHEREAS, on the terms and subject to the conditions of the Asset Purchase Agreement,
dated as [February 3,], 2020, by and between Buyer and Seller (as modified, amended, or
supplemented, the “Asset Purchase Agreement”), Seller agreed to, on the Closing Date, sell,
convey, transfer, assign, and deliver to Buyer the Acquired Assets free and clear of all
Encumbrances.

       NOW, THEREFORE, for the consideration set forth in the Asset Purchase Agreement and
other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged:

      1.      Defined Terms. All initially capitalized terms used but not defined herein have the
meaning ascribed to such terms in the Asset Purchase Agreement.

        2.     Transfer of Acquired Assets. On the terms and subject to the conditions set forth
in the Asset Purchase Agreement, Seller hereby sells, conveys, transfers, assigns, and delivers to
Buyer, and Buyer’s successors and assigns, all of the right, title, and interest of Seller in and to the
Acquired Assets owned by Seller free and clear of all Encumbrances.

       3.      As-Is, Where-Is. Except as set forth in the Asset Purchase Agreement, the Acquired
Assets are being sold, conveyed, transferred, assigned, and delivered hereunder “AS-IS”,
“WHERE-IS”, and “Quit Claim” basis, and Seller does not make any express or implied
representations, statements, warranties or conditions of any kind or nature whatsoever concerning
the Acquired Assets being sold, conveyed, transferred, assigned and delivered hereunder.

        4.      Asset Purchase Agreement. No provision of this Bill of Sale shall in any way
amend any of the express provisions (including the warranties, covenants, agreements, conditions,
representations and obligations and indemnifications, and the limitations related thereto, of Seller
or Buyer) set forth in the Asset Purchase Agreement, this Bill of Sale being intended solely to
effect the transfer of the Acquired Assets. In the event that any provision of this Bill of Sale is
construed to conflict with a provision in the Asset Purchase Agreement, the provision in the Asset
Purchase Agreement shall be deemed to be controlling.

        5.     Further Assurances. If Buyer shall consider or be advised that any deeds, bills of
sale, instruments of conveyance, assignments, assurances, or any other actions or things are
necessary or desirable to vest, perfect, or confirm ownership (of record or otherwise) in Buyer,
Buyer’s right, title, or interest in, to, or under any or all of the Acquired Assets transferred and
conveyed by Seller hereunder, Seller shall execute and deliver all deeds, bills of sale, instruments


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of conveyance, powers of attorney, assignments, and assurances and take and do all such other
actions and things as may be reasonably requested by Buyer in order to vest, perfect, or confirm
any and all right, title, and interest in, to, and under such rights, properties, or assets in Buyer, in
each case at Buyer’s cost and expense.

       6.      Binding on Successors; No Third Party Beneficiaries. This Bill of Sale shall be
binding upon and inure to the benefit of the parties hereto and the successors in interest and
permitted assigns of such parties. This Bill of Sale is not intended to confer any rights or remedies
upon any Person other than the parties hereto.

        7.      Counterparts. This Bill of Sale may be executed in two (2) or more counterparts
(including by facsimile or by an electronic scan delivered by electronic mail), each of which shall
be deemed an original but all of which together shall be considered one and the same agreement
and shall become effective when counterparts have been signed by each party hereto and delivered
to the other parties, it being understood that each party need not sign the same counterpart. This
Bill of Sale may be executed and delivered by an electronic scan delivered by electronic mail. No
party shall assert that the use of a facsimile machine or electronic transmission to deliver a
signature or the fact that any signature was transmitted or communicated through the use of a
facsimile machine or electronic transmission, constitutes a defense to the formation or delivery of
a contract or a document, and each party hereto forever waives any such defenses.

     8.    Governing Law. THIS BILL OF SALE SHALL BE GOVERNED BY AND
CONSTRUED IN ACCORDANCE WITH FEDERAL BANKRUPTCY LAW, TO THE
EXTENT APPLICABLE, AND WHERE STATE LAW IS IMPLICATED THIS BILL OF SALE
SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF
THE STATE OF DELAWARE, WITHOUT GIVING EFFECT TO THE CHOICE OF LAW
PRINCIPLES THEREOF, INCLUDING AS TO MATTERS OF CONSTRUCTION, VALIDITY,
AND PERFORMANCE.

      9.   Bankruptcy Court Jurisdiction. BUYER AND SELLER AGREE THAT THE
BANKRUPTCY COURT SHALL HAVE EXCLUSIVE JURISDICTION OVER ALL
DISPUTES AND OTHER MATTERS RELATING TO (i) THE INTERPRETATION AND
ENFORCEMENT OF THIS BILL OF SALE OR ANY ANCILLARY DOCUMENT
EXECUTED PURSUANT TO THIS BILL OF SALE; OR (ii) THE ACQUIRED ASSETS AND
ASSUMED LIABILITIES ASSUMED PURSUANT TO OR ARISING OUT OF THIS BILL OF
SALE OR ANY ANCILLARY DOCUMENT EXECUTED PURSUANT TO THIS BILL OF
SALE, AND BUYER EXPRESSLY CONSENTS TO AND AGREES NOT TO CONTEST
SUCH EXCLUSIVE JURISDICTION; PROVIDED THAT IF THE BANKRUPTCY COURT IS
UNWILLING OR UNABLE TO HEAR ANY SUCH DISPUTES AND OTHER MATTERS,
THEN THE COURTS OF THE STATE OF DELAWARE, SITTING IN NEW CASTLE
COUNTY, AND THE FEDERAL COURTS OF THE UNITED STATES OF AMERICA
SITTING IN THE STATE OF DELAWARE SHALL HAVE EXCLUSIVE JURISDICTION
OVER SUCH DISPUTES AND OTHER MATTERS EACH OF THE PARTIES HERETO
HEREBY IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY
LEGAL PROCEEDING ARISING OUT OF OR RELATED TO THIS BILL OF SALE OR THE
TRANSACTIONS CONTEMPLATED HEREBY.



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        IN WITNESS WHEREOF, the party hereto has executed this Bill of Sale as of the day and
year first above written.

                                          SELLER:

                                          DEREK C. ABBOTT, NOT INDIVIDUALLY,
                                          BUT SOLELY IN HIS CAPACITY AS CHAPTER
                                          11 TRUSTEE OF THE BANKRUPTCY ESTATE
                                          OF TOUGH MUDDER INCORPORATED AND
                                          TOUGH MUDDER EVENT PRODUCTION
                                          INCORPORATED


                                          By:
                                          Name: Derek C. Abbott, Chapter 11 Trustee




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                                            EXHIBIT B

                     ASSIGNMENT AND ASSUMPTION AGREEMENT

       This ASSIGNMENT AND ASSUMPTION AGREEMENT (this “Agreement”) is
executed and delivered as of [February __], 2020, by and between Derek C. Abbott, not
individually, but solely in his capacity as chapter 11 trustee (the “Trustee” or “Seller”) of the
bankruptcy estate of Tough Mudder Incorporated and Tough Mudder Event Production
Incorporated to Spartan Race, Inc., a Delaware corporation (“Buyer”), pursuant to the Asset
Purchase Agreement (as hereinafter defined).

       WHEREAS, on the terms and subject to the conditions of the Asset Purchase Agreement,
dated as [February 3], 2020, by and between Buyer and Seller (as modified, amended, or
supplemented, the “Asset Purchase Agreement”), Seller agreed to, on the Closing Date, sell,
convey, transfer, assign, and deliver to Buyer the Acquired Assets free and clear of all
Encumbrances.

       NOW, THEREFORE, for the consideration set forth in the Asset Purchase Agreement and
other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the parties hereto, intending to be legally bound hereby, agree as follows:

      1.     Defined Terms. All initially capitalized terms used but not defined herein have the
meaning given them in the Asset Purchase Agreement.

        2.      Assignment of Assumed Contracts. On the terms and subject to the conditions set
forth in the Asset Purchase Agreement, Seller hereby sells, conveys, transfers, assigns, and delivers
to Buyer, and Buyer’s successors and assigns, all right, title and interest of Seller in and to (a) the
Assumed Contracts set forth on attached Exhibit A.

        3.      Assumption of Assumed Liabilities. On the terms and subject to the conditions set
forth in the Asset Purchase Agreement, Buyer hereby assumes and agrees to discharge or perform
when due (in accordance with the terms and conditions of the Assumed Contracts), the Assumed
Contracts and all other liabilities of Seller that constitute Assumed Liabilities. Other than the
obligations under the Assumed Contracts and the other liabilities of Seller that constitute Assumed
Liabilities, Buyer has not assumed any liability of any nature or kind whatsoever of Seller.

        4.     Asset Purchase Agreement. This Agreement is in accordance with and is subject
to the terms of the Asset Purchase Agreement. Nothing contained herein shall be deemed to
supersede, enlarge on or modify any of the obligations, agreements, covenants or warranties of
Seller contained in the Asset Purchase Agreement. If any conflict or other difference exists
between the terms of this Agreement and the Asset Purchase Agreement, then the terms of the
Asset Purchase Agreement shall govern and control. Except as set forth in the Asset Purchase
Agreement, the Assumed Contracts and Assumed Liabilities are being assigned and delivered
hereunder “AS-IS”, “WHERE-IS”, and Seller does not make any express or implied
representations, statements, warranties or conditions of any kind or nature whatsoever concerning
the Assumed Contracts and Assumed Liabilities being assumed.




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       5.     Binding on Successors; No Third Party Beneficiaries. This Agreement shall be
binding upon and inure to the benefit of the parties hereto and the respective successors in interest
and permitted assigns of such parties. This Agreement is not intended to confer any rights or
remedies upon any person or entity other than the parties hereto.

        6.      Counterparts. This Agreement may be executed in two (2) or more counterparts
(including by facsimile or by an electronic scan delivered by electronic mail), each of which shall
be deemed an original but all of which together shall be considered one and the same agreement
and shall become effective when counterparts have been signed by each party hereto and delivered
to the other parties, it being understood that each party need not sign the same counterpart. This
Agreement may be executed and delivered by an electronic scan delivered by electronic mail. No
party shall assert that the use of a facsimile machine or electronic transmission to deliver a
signature or the fact that any signature was transmitted or communicated through the use of a
facsimile machine or electronic transmission, constitutes a defense to the formation or delivery of
a contract or a document, and each party hereto forever waives any such defenses.

       7.      Severability. If any provision of this Agreement is held invalid or unenforceable
by any court of competent jurisdiction, the other provisions of this Agreement will remain in full
force and effect. Any provision of this Agreement held invalid or unenforceable only in part or
degree will remain in full force and effect to the extent not held invalid or unenforceable.

        8.     Amendments, Etc. Any amendment, modification or waiver of any term or
provision of this Agreement must be in writing and signed by Seller and Buyer. Any waiver will
be effective only in the specific instance and for the specific purpose for which it is given.

     9.    Governing Law. THIS AGREEMENT SHALL BE GOVERNED BY AND
CONSTRUED IN ACCORDANCE WITH FEDERAL BANKRUPTCY LAW, TO THE
EXTENT APPLICABLE, AND WHERE STATE LAW IS IMPLICATED THIS AGREEMENT
SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF
THE STATE OF DELAWARE, WITHOUT GIVING EFFECT TO THE CHOICE OF LAW
PRINCIPLES THEREOF, INCLUDING AS TO MATTERS OF CONSTRUCTION, VALIDITY,
AND PERFORMANCE.

      10.   Bankruptcy Court Jurisdiction. BUYER AND SELLER AGREE THAT THE
BANKRUPTCY COURT SHALL HAVE EXCLUSIVE JURISDICTION OVER ALL
DISPUTES AND OTHER MATTERS RELATING TO (i) THE INTERPRETATION AND
ENFORCEMENT OF THIS AGREEMENT OR ANY ANCILLARY DOCUMENT EXECUTED
PURSUANT TO THIS AGREEMENT; OR (ii) THE ACQUIRED ASSETS AND ASSUMED
LIABILITIES ASSUMED PURSUANT TO OR ARISING OUT OF THIS AGREEMENT OR
ANY ANCILLARY DOCUMENT EXECUTED PURSUANT TO THIS AGREEMENT, AND
BUYER EXPRESSLY CONSENTS TO AND AGREES NOT TO CONTEST SUCH
EXCLUSIVE JURISDICTION; PROVIDED THAT IF THE BANKRUPTCY COURT IS
UNWILLING OR UNABLE TO HEAR ANY SUCH DISPUTES AND OTHER MATTERS,
THEN THE COURTS OF THE STATE OF DELAWARE, SITTING IN NEW CASTLE
COUNTY, AND THE FEDERAL COURTS OF THE UNITED STATES OF AMERICA
SITTING IN THE STATE OF DELAWARE SHALL HAVE EXCLUSIVE JURISDICTION
OVER SUCH DISPUTES AND OTHER MATTERS EACH OF THE PARTIES HERETO


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HEREBY IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY
LEGAL PROCEEDING ARISING OUT OF OR RELATED TO THIS AGREEMENT OR THE
TRANSACTIONS CONTEMPLATED HEREBY.

                            [Signature Page Follows]




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       IN WITNESS WHEREOF, the undersigned parties hereby execute this Agreement as of
the day and year first above written.

                                        BUYER:

                                        SPARTAN RACE, INC.


                                        By:
                                        Name: David Piperno
                                        Title: Chief Financial Officer


                                        SELLER:

                                        DEREK C. ABBOTT, NOT INDIVIDUALLY,
                                        BUT SOLELY IN HIS CAPACITY AS CHAPTER
                                        11 TRUSTEE OF THE BANKRUPTCY ESTATE
                                        OF TOUGH MUDDER INCORPORATED AND
                                        TOUGH MUDDER EVENT PRODUCTION
                                        INCORPORATED


                                        By:
                                        Name: Derek C. Abbott, Chapter 11 Trustee




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                        Exhibit A

                    Assumed Contracts




                     Assumed Events




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                                             EXHIBIT C

  INTELLECTUAL PROPERTY ASSIGNMENT AND ASSUMPTION AGREEMENT

       This INTELLECTUAL PROPERTY ASSIGNMENT AND ASSUMPTION
AGREEMENT (this “Agreement”), is executed and delivered as of [February __], 2020, by and
between Derek C. Abbott, not individually, but solely in his capacity as chapter 11 trustee (the
“Trustee” or “Seller”) of the bankruptcy estate of Tough Mudder Incorporated and Tough Mudder
Event Production Incorporated (the “Debtor”), to Spartan Race, Inc., a Delaware corporation
(“Buyer”), pursuant to the Asset Purchase Agreement (as hereinafter defined).

       WHEREAS, on the terms and subject to the conditions of the Asset Purchase Agreement,
dated as [February 3], 2020, by and between Buyer and Seller (as modified, amended, or
supplemented, the “Asset Purchase Agreement”), Seller agreed to, on the Closing Date, sell,
convey, transfer, assign, and deliver to Buyer the Acquired Assets free and clear of all
Encumbrances;

       WHEREAS, the Debtor is the owner of each of the Intellectual Property Assets set forth
on Schedule A hereto (the “Purchased Intellectual Property”); and

       NOW, THEREFORE, for the consideration set forth in the Asset Purchase Agreement and
other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the parties hereto, intending to be legally bound hereby, agree as follows:

      1.     Defined Terms. All initially capitalized terms used but not defined herein have the
meaning given them in the Asset Purchase Agreement.

       2.     Assignment. On the terms and subject to the conditions set forth in the Asset
Purchase Agreement, Seller hereby sells, conveys, transfers, assigns, and delivers to Buyer, and
Buyer’s successors and assigns,

                i)       all right, title and interest of the Debtor in and to the Purchased Intellectual
Property, including all rights therein provided by international conventions and treaties, and the
right to sue for past, present and future infringement thereof (“Transferred Rights”);

              ii)     any and all rights to sue at law or in equity for any infringement, imitation,
impairment, distortion, dilution or other unauthorized use or conduct in derogation of the
Transferred Rights occurring prior to the Closing, including the right to receive all proceeds and
damages therefrom;

               iii)   any and all rights to royalties, profits, compensation, license fees or other
payments or remuneration of any kind relating to the Transferred Rights arising from and after the
date of this Agreement; and

                iv)     any and all rights to obtain renewals, reissues, and extensions of
registrations or other legal protections pertaining to the Transferred Rights.




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Buyer, its successors and assigns, shall hold the rights to the foregoing for and during the existence
of such Transferred Rights, and all renewals, reissues and extensions thereof, as fully and as
entirely as the same would have been held and enjoyed by Debtor had this Agreement not been
made.

        3.     Asset Purchase Agreement. This Agreement is in accordance with and is subject
to the terms of the Asset Purchase Agreement. Nothing contained herein shall be deemed to
supersede, enlarge on or modify any of the obligations, agreements, covenants or warranties of
Seller contained in the Asset Purchase Agreement. If any conflict or other difference exists
between the terms of this Agreement and the Asset Purchase Agreement, then the terms of the
Asset Purchase Agreement shall govern and control. Except as set forth in the Asset Purchase
Agreement, the Transferred Rights are being sold, conveyed, transferred, assigned and delivered
hereunder “AS-IS”, “WHERE-IS”, and Seller does not make any express or implied
representations, statements, warranties or conditions of any kind or nature whatsoever concerning
the Transferred Rights being sold, conveyed, transferred, assigned and delivered hereunder.

       4.       Further Assurances. Seller shall, at the cost and expense of Buyer, timely execute
and deliver any additional documents and perform such additional acts reasonably necessary or
desirable to record and perfect the interest of Buyer in and to the Purchased Intellectual Property,
and shall not enter into any agreement in conflict with this Agreement.

       5.     Binding on Successors; No Third Party Beneficiaries. This Agreement shall be
binding upon and inure to the benefit of the parties hereto and the respective successors in interest
and permitted assigns of such parties. This Agreement is not intended to confer any rights or
remedies upon any person or entity other than the parties hereto.

        6.      Counterparts. This Agreement may be executed in two (2) or more counterparts
(including by facsimile or by an electronic scan delivered by electronic mail), each of which shall
be deemed an original but all of which together shall be considered one and the same agreement
and shall become effective when counterparts have been signed by each party hereto and delivered
to the other parties, it being understood that each party need not sign the same counterpart. This
Agreement may be executed and delivered by an electronic scan delivered by electronic mail. No
party shall assert that the use of a facsimile machine or electronic transmission to deliver a
signature or the fact that any signature was transmitted or communicated through the use of a
facsimile machine or electronic transmission, constitutes a defense to the formation or delivery of
a contract or a document, and each party hereto forever waives any such defenses.

       7.      Severability. If any provision of this Agreement is held invalid or unenforceable
by any court of competent jurisdiction, the other provisions of this Agreement will remain in full
force and effect. Any provision of this Agreement held invalid or unenforceable only in part or
degree will remain in full force and effect to the extent not held invalid or unenforceable.

        8.     Amendments, Etc. Any amendment, modification or waiver of any term or
provision of this Agreement must be in writing and signed by Seller and Buyer. Any waiver will
be effective only in the specific instance and for the specific purpose for which it is given.




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     9.    Governing Law. THIS AGREEMENT SHALL BE GOVERNED BY AND
CONSTRUED IN ACCORDANCE WITH FEDERAL BANKRUPTCY LAW, TO THE
EXTENT APPLICABLE, AND WHERE STATE LAW IS IMPLICATED THIS AGREEMENT
SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF
THE STATE OF DELAWARE, WITHOUT GIVING EFFECT TO THE CHOICE OF LAW
PRINCIPLES THEREOF, INCLUDING AS TO MATTERS OF CONSTRUCTION, VALIDITY,
AND PERFORMANCE.

      10.   Bankruptcy Court Jurisdiction. BUYER AND SELLER AGREE THAT THE
BANKRUPTCY COURT SHALL HAVE EXCLUSIVE JURISDICTION OVER ALL
DISPUTES AND OTHER MATTERS RELATING TO (i) THE INTERPRETATION AND
ENFORCEMENT OF THIS AGREEMENT OR ANY ANCILLARY DOCUMENT EXECUTED
PURSUANT TO THIS AGREEMENT; OR (ii) THE ACQUIRED ASSETS AND ASSUMED
LIABILITIES ASSUMED PURSUANT TO OR ARISING OUT OF THIS AGREEMENT OR
ANY ANCILLARY DOCUMENT EXECUTED PURSUANT TO THIS AGREEMENT, AND
BUYER EXPRESSLY CONSENTS TO AND AGREES NOT TO CONTEST SUCH
EXCLUSIVE JURISDICTION; PROVIDED THAT IF THE BANKRUPTCY COURT IS
UNWILLING OR UNABLE TO HEAR ANY SUCH DISPUTES AND OTHER MATTERS,
THEN THE COURTS OF THE STATE OF DELAWARE, SITTING IN NEW CASTLE
COUNTY, AND THE FEDERAL COURTS OF THE UNITED STATES OF AMERICA
SITTING IN THE STATE OF DELAWARE SHALL HAVE EXCLUSIVE JURISDICTION
OVER SUCH DISPUTES AND OTHER MATTERS EACH OF THE PARTIES HERETO
HEREBY IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY
LEGAL PROCEEDING ARISING OUT OF OR RELATED TO THIS AGREEMENT OR THE
TRANSACTIONS CONTEMPLATED HEREBY.

                             [Signature Page Follows]




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       IN WITNESS WHEREOF, the undersigned parties hereby execute this Agreement as of
the day and year first above written.

                                        BUYER:

                                        SPARTAN RACE, INC.


                                        By:
                                        Name: David Piperno
                                        Title: Chief Financial Officer

                                        SELLER:

                                        DEREK C. ABBOTT, NOT INDIVIDUALLY,
                                        BUT SOLELY IN HIS CAPACITY AS CHAPTER
                                        11 TRUSTEE OF THE BANKRUPTCY ESTATE
                                        OF TOUGH MUDDER INCORPORATED AND
                                        TOUGH MUDDER EVENT PRODUCTION
                                        INCORPORATED


                                        By:
                                        Name: Derek C. Abbott, Chapter 11 Trustee




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